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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter ll
TRlBUNE COMPANY, e_t a_l.,
Debtors_ Cases No. 08-13141 (KJC)

J'ointiy Administered

 

THE oFFIclAL COMMITTEE OF UNSECURED CREDITORS OF TRIBUNE
COMPANY, on behalf of TRLBUNE COMPANY, e_r a_l_,

Plamt'ff= Aclv. Pro. No.
-against-

DENNIS J. FITZSIMONS, ENRIQUE H_ERNANDEZ JR., BETSY D. HOLDEN,
ROBERT S. MORRISON, WILLlAM A. OSBORN, CHRISTOPHER REYES, DUDLEY
S. TAFT, MLLES D. WHITE, JEFFREY CHANDLER, ROGER GOODAN, WILLIAM
STINEHART JR., CHANDLER BIGELOW, DONALD C. GRENESKO, MARK W.
HIANIK, DANIEL G. KAZAN, CRANE I-I. KENNEY, THOMAS D. LEACH, LUIS E.
LEWIN, R. MARK MALLORY, RUTHE`,LLYN MUSIL, HARRY AMSDEN, STEPHEN
D. CARVER, THOMAS S. FINKE, ROBERT GREMILLION, DAVID DEAN HILLER,
T[MOTHY P. KNIGHT, TIMOTHY J. LANDON, RICHARD H. MALONE, DURHAM J.
MONSMA, IRVING L. QUIMBY, JOHN E. REARDON, SCOTT C. SMITH, JOI-IN J.
VITANOVEC, KATHLEEN M. WALTZ, DAVID D. WILLIAMS, JOHN D.
WORTHINGTON IV, CHANDLER TRUST NO. 1, CI-IANDLER TRUST NO. 2,
ROBERT R. McCORMICK FOUNDATION, CANTIGNY FOUNDATION, SAMUEL
ZELL, EQUITY GROUP INVESTMENTS, L.L.c., EGI_TRB, L.L.C., sAM
INVESTMENT TRUST, TOWER CH, L.L.C., TOWER DC, L.L.C., TOWER DL, L.L.C.,
TOWER EH, L.L.C., TOWER GREENSPUN DGSPT, LLC, TOWER GREENSPUN
JGGSTP, LLC, TOWER GREENSPUN SGFFT, LLC, TOWER GREENSPUN, L.L.C.,
TOWER HZ, L.L.C., TOWER .TB, L.L.C., TOWER JK, L.L.C., TOWER JP, L.L.C.,
TOWER JS, L.L.C., TOWER KS, L.L.C., TOWER LL, L.L.C., TOWER LM, L.L.C.,
TOWER LZ, L.L.C., TOWER MH, L.L.C., TOWER MS, L.L.C., TOWER MZ, L.L.C.,
TOWER NL, L.L.C., TOWER PH, L.L.C., TOWER PT, L.L.C., TOWER SF, L.L.C.,
TOWER T'I`, L.L.C., TOWER VC, L.L.C., TOWER WP, L.L.C., GREATBANC TRUST
COMPANY, DUFF & Pl-IELPS, LLC, VALUATION RESEARCH CORPORATION,
DOES 1-25, MORGAN STANLEY & CO. INC., MORGAN STANLEY CAPITAL
SERVICES, INC., MERRILL, LYNCI-I, PIERCE, FENNER & SMITH
INCORPORATED, CITIGROUP GLOBAL MARKETS, INC.,

-and~

THE DFA INVESTMENT TRUST COMPANY, DFA INVESTN[ENT DIMENSIONS
GROUP, INC., TI-IE`l ALLIANCE BERNSTEIN PORTFOLIOS, FRANK W. DENIUS,
DONALD M. HINMAN JR., LEWIS TAMAN, and WILLIAM P. WARCHOL, on behalf
of themselves and a class of similarly situated persons and legal entities, including but not
limited to those listed in the attached Exhibit A,

 

Defendants.

 

COMPLAINT

 

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Plaintiff, The Official Committee of Unsecured Creditors (“Plaintift” or the
“Committee”) of the debtors and debtors-in-possession in the above-captioned Chapter 11 cases
(coilectiveiy, “Debtors”),l on behalf of the Debtors’ Chapter 11 estates, respectfully alleges as
folloWS:

NATURE OF THE ACTION

l. The Committee brings this action to hold accountable the persons and entities
responsible for crippling the Tribune Company (“Tribune” or “the Company”), once one of the
country’s most venerable companies Through a leveraged buyout transaction (“LBO

Transaction”) tainted from Start to finish, that venerable company lost billions of dollars in value

 

1 The Debtors in these chapter ll cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions lnc. (5510); Ba[timcre Newspaper Networks, lnc. (8258); California
Community News Corporation {5306); Candle Holdings Corporation (5626); Channe| 20, Inc. (7399);Channe139, lnc. (5256); Channel 40, lnc.
(3844)', Chicago Avenue Construction Company (8634); Chicago River Production Company (5434)', Chieago Tribune Company (3437);
Chicago Tribune Newspapers, lnc. (0439); Chicago Tribune Press Service, lnc. (3167); ChicagoLand Microwave Licensee, lnc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352)', Ceura.nt Specialcy Products, Inc. (9221); Direct Mail
Associates, lnc. (6[21); Distribution Systems of America, lnc. (3811); Eagle New Media Investmencs, LLC (666|); Eagle Publishing
lnvestments, LLC (6327); fcrsalebyowner.com corp. (0219); ForSaleByOwner. com Referral Services, LLC (9205)', Fortify Hcldings
Corporation (5628); Ferum Publishing Group, lnc. (2940); Gold Cnast Pub|icatinns, lnc. (5505); GreenCo, lnc. (7416); Heart & Crown
Advertising, Ine. (9808); Homeowners Rcalty, lnc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352);
lnsertCo, lnc. (2663); lntemet Foreclosure Servicc, lnc. (65 50); JuliusAir Company, LLC (9479); JuliusAir Company Il, LLC; KiAH lnc.
(4014); KPLR, lnc. (7943); KSWB lnc. (7035); KTLA lnc. (3404)', KWGN lnc. (5347)', Los Angelcs Times Communications LLC (1324); Los
Angcles 'i`imes biternational, Ltd. (6079); Los Angcles Times Newspapers, lnc. (0416); Magic 'I` Musie Publishing Company (6522); NBBF,
l_,l_.C (0893)', Neocomm, lnc. (7208); New Mass. Media, lnc. (9553); Newscom Services, lnc. (48|7); Newspaper Readers Agency, lnc. (7335);
North Michigan Production Company (5466); North Orange Avenue Properties, lnc. (4056); Oak Brook Productions, lnc. (2598)', Orlando
Sentinel Communications Compa.ny (3775); Patuxent Publishing Compa.ny (4223)', Publishers Forest Products Co. of Washington (4750);
Sentinel Cnmmunicaticms News Ventures, lnc. (2027); Shepard's lnc. (7931); Signs of Distinction, lnc. (3603); Snuthem Connecticut
Newspapers, lnc. (1455); Star Comrnunity Publishing Group, hLC (5612); Stemweb, lnc. (4276); Sun-Sentinel Ccmpany (2684); The Baltimore
Sun Compa.ny (6880)', The Daily Press, lnc. (9368); The Hartford Cnurant Company (3490); The Morning Call, lnc. (756())', The Othcr
Compzmy LLC (5337); Times Mirrnr Land and Timber Company (7088); 'l`imes Mirror Payroll Precessing Ccmpany, lnc. (4227); Times Mirror
Services Company, lnc. (1326); TMLH 2, lnc. (0720); TMLS I, lnc. (0719); TMS Entcrtainment Guides, lnc. (6325); Tower Distributinn
Company (9066); Towering T Musie Publishing Company (2470); Tribune Broadcast Holdings, lnc. (4438); Tribune Broadcasting Company
(2569); Tribune Broadcasting I-Ioldcn, LLC (2534)', Tribune Broadca.sting News Network, lnc., n/kfa Tribune Washington Bureau Inc. (1088);
Tribune California Properties, lnc. (1629}; Tribune CNLBC, LLC, f/k/a Chicagn National League Ball Club, LLC (0347); Tribune Direct
Marketing, lnc. {1479); Tribune Entenainment Company (6232)', Tribune Entcrtainment Production Company (5393); Tribune Finance, LLC
(2537); Tribune Finance Service Center, lnc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan
Newspaper Holdings, lnc. (7279); Tribune Media Net, lnc. (7847); Tribune Media Services, lnc. (1080); Tiibune Network Holdings Company
(9936); Tribune New ank Newspaper Ho!clings, LLC (7278)‘, Tribune NM, lnc. (9939); Tribune Publishing Company (9720); Tribune
Television Company (1634); Tribune Television Holdings, lnc. (1630); Tribune Televisinn New Orleans, lnc. (4055); Tribune Television
Northwest, lnc. (2975); Va|uMail, lnc. (9512); Virginia Comrnunity Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL,
LLC (7384); WCCT, lne., f/k)'a WTXX lnc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting
Company (9530); WLVI Inc. (8074); and W`PIX, lnc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is
435 North Michigan Avenue, Chicago, ll|inois 60611.

 

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between the closing of the LBO Transaction and the Company’s bankruptcy filing less than a
year later. This LBO Transaction is among the worst in American corporate history. One of the
engineers of the deal referred to it in the following apt terms: “This is like carrying a fat person
up Everest, hopefully it doesn’t kill us.” Predictably, the LBO Transaction killed the Company
soon enough.

2. The LBO was designed to cash out the large shareholders of Tribune, and to
line the pockets of defendant Samuel Zell (“Zell”) and Tribune’s directors and officers Faced
with a severe decline in Tribune’s stock price, starting in 2005, and continuing through the
relevant time period, certain large shareholders of Tribune that collectively owned 33% of its
Shares began exerting extreme pressure on the Company to take prompt action to maximize the
value of their investment

3. In response to this pressure from the dominant shareholders, in September
2006, Tribune began a strategic review process to solicit and consider proposals that would alter
the Company’S future. In February 2007, billionaire Zell masterminded a plan in which he used
very little of his own assets to acquire control of Tribune while shifting the risk that the
transaction would fail onto the Cornpany’s shareholdersl Zell’s plan used an employee stock
ownership plan (“ESOP”) as the takeover vehicle, and leveraged Tribune to the hilt to buy out
all of its publicly owned shares. To accomplish his plan, Zell induced those charged with
running and protecting Tribune to turn a blind eye to the unsustainable level of debt that would
inevitably cause Tribune’s demise. Arnong other things, Zell succeeded by enticing Tribune’s
directors and officers with tens of millions of dollars in stock sale proceeds and special

incentives to close his deal.

 

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4. Caving to the pressure from large shareholders and the lure of substantial
financial incentives, Tribune’s management facilitated the transaction. On April l, 2007, in
dereliction of its duties to safeguard the Company’s future, Tribune’s board approved Zell’s bid
to acquire Tribune through the highly leveraged LBO Transaction, and as a result, the Tribune
executed the first Step of the transaction, paying its shareholders approximately $4.3 billion for
50% shares using proceeds of a loan that the Company was obligated to rcpay. At the end of
2007, acting with knowledge, recklessness, or gross negligence, the directors and officers
facilitated the closing of the second step of the LBO, in complete disregard of the Tribune’s
deteriorating financial condition and business operations Using proceeds of loans that the
Company was obligated to repay, Tribune paid approximately $4 billion to shareholders holding
the remaining 50% of the Tribune’s outstanding shares. As a result of the LBO Transaction,
Tribune’s debt increased to a staggering 313 billion. The Tribune’s large shareholders achieved
their goal of exiting from the Tribune, while Zell took control of the Company with little risk to
him and stood to reap huge gains if the gamble paid off. The directors and officers received
extraordinary payments And the Company and its creditors bore the lion’s share of the risk that
the gamble Would not pay off for Zell.

5. By imposing a crushing debt load on Tribune and structuring the transaction
through an ESOP, Zell acquired control over a company once worth many billions of dollars
While putting up only 3315 million of his own money (a mere 2.6% of the total consideration)
and without incurring any substantial personal risk. In addition, Tribune’s large shareholders
collected billions of dollars and then - finally satisfied with the enormous value they had

extracted from their stock - walked away from the ruined Company.

 

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6. The Company’s interests were egregiously subverted through the LBO
Transaction. The level of debt required to consummate the transaction rendered Tribune
insolvent - a result that the director and officer defendants and the large shareholders that held
sway over the Company’s future did foresee or should have foreseen. lndeed, the devastating
results of the LBO Transaction were widely forecast by financial analysts. Nevertheless, the
director and officer defendants recklessly agreed to and approved a clearly imprudent
transaction, in part because many had financial motivation to do so, and the large shareholders
were quite content to reap the significant benefits of a “cash-out” transaction they had actively
pursued.

7. Predictably, Tribune filed for bankruptcy protection less than a year after the
LBO Transaction closed. Thus, through the orchestration, negotiation and consummation of a
foolish and destructive transaction, defendants brought financial ruin to Tribune within a year.
This lawsuit seeks redress for that unprecedented injury.

JURISDICTION AND VENUE

8. This Court has jurisdiction over this adversary proceeding under 28 U.S.C.
§§ 157 and 1334 and the Standing Order of the United States District Court for the District of
Delaware referring to the Bankruptcy Judges of this District all cases and proceedings arising
under the Bankruptcy Code.

9. This adversary proceeding constitutes a “core” proceeding as defined in 28
U.S.C. § 157(b)(2)(A). ln the event that this or any other appropriate Court finds any part of
this adversary proceeding to be “non-core,” Plaintiff consents to the entry of final orders and

judgments by this Court, pursuant to Rule 7008 of the F ederal Rules of Bankruptcy Procedure.

 

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10. Venue in this District is proper under 28 U.S.C. §§ 1408 and 1409 because
this adversary proceeding arises under and in connection with cases pending under title ll of the
United States Code (the “Bankruptcy Code”).

THE PARTIES

11. Plaintiff is the Official Comrnittee of Unsecured Creditors duly appointed on
December 18, 2008 in the Debtors’ Chapter 11 cases by the Office of the United States Trustee
for the District of Delaware. The Committee has been granted Standing and authority by this
Court to commence, prosecute and settle this action on behalf of the Debtors’ estates

12. Defendant Dennis J. FitzSimons (“FitzSimons”) was the President and Chief
Executive Officer (“CEO”) of Tribune and the Chainnan of Tribune’s Board of Directors
(“Board”) at the time of the LBO Transaction. As a director, FitzSimons approved the LBO
Transaction. Upon information and belief, FitzSimons sold 481,296 shares of Tribune stock in
connection with the LBO Transaction from which he received approximately 816,364,064 in
cash proceeds Upon information and belief, FitzSimons’ total earnings from the LBO
Transaction, including severance payments and other special incentives, were approximately
$47 million. Also at the time of the LBO Transaction, FitZSimons was the Chairrnan of the
Robert R. McCormick Foundation (the “McCormick Poundation”), one of Tribune’s largest
shareholders prior to the LBO Transaction. Through that position, which he still holds,
FitzSimons effectively controlled the McCormick Poundation. At the time of the transaction,
FitzSimons was also a member of the board of directors of the Cantigny Foundation, an affiliate
of the McCormick Foundation, and still holds that position. FitzSimons was also a director of

one or more of the Subsidiary Guarantors (defined below) at that time. Upon information and

 

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belief, FitzSimons lives in Illinois. Upon information and belief, FitzSimons has filed at least
one proof of claim in the Debtors’ Chapter ll cases

13. Defendant Enrique Hernandez Jr. (“Hernandez”) Was a director of Tribune at
the time of the LBO Transaction. As a director, Hernandez approved the LBO Transaction.
I-lernandez also served as a member of the special committee (the “Special Comrnittee”) of the
Tribune Board that was formed in September 2006 to oversee management’s exploration of
alternatives and which ultimately recommended that the full Board approve the LBO
Transaction. Upon information and belief, Hernandez sold 13,608 shares of Tribune stock in
connection with the LBO Transaction from which he received approximately $462,672 in cash
proceeds Upon information and belief, Hernandez lives in California.

14. Defendant Betsy D. Holden (“Holden”) was a director of Tribune at the time
of the LBO Transaction and remains a director. As a director, Holden approved the LBO
Transaction. Holden also served as a member of the Special Comrnittee that recommended that
the full Board approve the LBO Transaction. Upon information and belief, Holden sold 10,939
shares of Tribune stock in connection with the LBO Transaction from which she received
approximately $371,926 in cash proceeds Upon information and belief, Holden lives in
lllinois. Upon information and belief, the Debtors have listed flolden as a holder of an
unsecured claim on the Debtor’s schedules of assets and liabilities (“the Debtors’ Schedules”).

15. Defendant Robert S. Morrison (“l\/lorrison”) was a director of Tribune at the
time of the LBO Transaction. As a director, Morrison approved the LBO Transaction.
Morrison also served as a member of the Special Committee. Upon information and belief,

l\/lorrison sold 15 ,427 shares of Tribune stock in connection with the LBO Transaction from

 

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which he received approximately 3524,518 in cash proceeds Upon information and belief,
Morrison lives in lllinois.

16. Defendant William A. Osborn (“Osborn”) was a director of Tribune at the
time of the LBO Transaction and is a current director. As a director, Osborn approved the LBO
Transaction. Osborn also served as Chair of the Special Committee. Upon information and
belief, Osborn sold 14,237 shares of Tribune stock in connection with the LBO Transaction
from which he received approximately 8484,058 in cash proceeds Upon information and
belief, Osborn lives in Illinois.

17. Defendant Christopher Reyes (“Reyes”) Was a director of Tribune at the time
of the LBO Transaction. As a director, Reyes approved the LBO Transaction. Reyes also
served as a member of the Special Committee. Upon information and belief, Reyes sold 17,248
shares of Tribune stock in connection with the LBO Transaction from which he received
approximately $586,432 in cash proceeds Upon information and belief, Reyes lives in Illinois.

18. Defendant Dudley S. Taft (“Taft”) Was a director of Tribune at the time of the
LBO Transaction. Taft also served as a member of the Special Committee. Upon information
and belief, Taft sold 100,938 shares of Tribune stock in connection with the LBO Transaction
from which he received approximately $3,431,892 in cash proceeds Upon information and
belief, Taft lives in Ohio.

19. Defendant Miles D. White (“White”) was a director of Tribune at the time of
the LBO Transaction. As a director, White approved the LBO Transaction. White also served

as a member of the Special Committee. Upon information and belief, White sold 8,698 shares

 

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of Tribune stock in connection with the LBO Transaction from which he received
approximately $295,732 in cash proceeds Upon information and belief, White lives in lllinois.

20. Defendant Jeffrey Chandler (“Chandler”) was a director of Tribune at the
time of the LBO Transaction and until his resignation on or about June 4, 2007, the date on
which the first step of the LBO Transaction closed. Chandler served on the Board as a
representative of the Chandler Trusts (defined below), of which he is a trustee and beneficiary
The Chandler Trusts were at that time among Tribune’s largest shareholders Upon information
and belief, Chandler sold ll,187 shares of Tribune stock in connection with the LBO
Transaction from which he received approximately $380,358 in cash proceeds Upon
information and belief, Chandler lives in California.

21. Defendant Roger Goodan (“Goodan”) was a director of Tribune at the time of
the LBO Transaction and until his resignation on or about June 4, 2007. Goodan served on the
Board as a representative of the Chandler Trusts, of which he is a trustee and beneficiary. Upon
information and belief, Goodan sold 13,125 shares of Tribune stock in connection with the LBO
Transaction from which he received approximately $434,706 in cash proceeds Upon
information and belief, Goodan lives in California.

22. Defendant William Stinehart Jr. (“Stinehart”) was a director of Tribune at the
time of the LBO Transaction and until his resignation on or about June 4, 2007. Stinehart
served on the Board as a representative of the Chandler Tr.usts, of which he is a trustee. Upon
information and belief, Stinehart sold 12,650 shares of Tribune stock in connection with the
LBO Transaction from which he received approximately $430,100 in cash proceeds Upon

information and belief, Stinehart lives in Califomia.

 

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23. The defendants named above in 1111 20-22 are sometimes collectively referred
- to herein as the “Chandler Trust Representatives.” The defendants named above in ‘|l‘|l 12-22 are
sometimes collectively referred to herein as the “Director Defendants.”

24. Defendant Chandler Bigelow (“Bigelow”) was Tribune’s Treasurer at the
time of the LBO Transaction, and currently is Tribune’s Chief Pinancial Officer. Bigelow was
also the Vice President and Treasurer of one or more of the Subsidiary Guarantors at that time.
Upon information and belief, Bigelow received monetary special incentives in connection with
consummation of the LBO Transaction. Upon information and belief, Bigelow lives in lllinois.
Upon information and belief, the Debtors have listed Bigelow as the holder of one or more
unsecured claims on the Debtors’ Schedules.

25. Defendant Donald C. Grenesko (“Grenesko”) was Tribune’s Senior Vice
President of Finance and Administration at the time of the LBO Transaction. Upon information
and belief, Grenesko sold 242,35'7 shares of Tribune stock in connection with the LBO
Transaction from which he received approximately $8,240,138 in cash proceeds Upon
information and belief, Grenesko also received additional monetary special incentives in
connection with consummation of the LBO Transaction. Upon information and belief,
Grenesko lives in Illinois Upon information and belief, Grenesko has filed at least one proof of
claim in the Debtors’ Chapter ll cases

26. Defendant l\/lark W. Hianik (“Hianik”) was Tribune’s Assistant General
Counsel and Assistant Secretary at the time of the LBO Transaction. Hianik was also the

Assistant Secretary of one or more of the Subsidiary Guarantors at that time. Upon information

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and belief, Hianik received monetary special incentives in connection with consummation of the
LBO Transaction. Upon information and belief, Hianik lives in Illinois.

27. Defendant Daniel G. Kazan (“Kazan”) was Tribune’s Vice President of
Development at the time of the LBO Transaction, and currently is Tribune’s Senior Vice
President, Corporate Development Upon information and belief, Kazan received monetary
special incentives in connection with consummation of the LBO Transaction. Upon information
and belief, Kazan lives in lllinois. Upon information and belief, the Debtors have listed Kazan
as the holder of one or more unsecured claims on the Debtors’ Schedules

28. Defendant Crane H. Kenney (“Kenney”) was Tribune’s Senior Vice
President, General Counsel and Secretary at the time of the LBO Transaction. Kenney was also
a director of one or more of the Subsidiary Guarantors at that time. Upon information and
belief, Kenney sold 51,668 shares of Tribune stock in connection with the LBO Transaction
from which he received approximately $1,756,712 in cash proceeds Upon information and
belief, Kenney also received additional monetary special incentives in connection with
consummation of the LB(3 Transaction. Upon information and belief, Kenney lives in lllinois
Upon information and belief, Kenney has filed at least one proof of claim in the Debtors’
Chapter 11 cases ln addition, upon information and belief, the Debtors have listed Kenney as
the holder of one or more unsecured claims on the Debtors’ Schedules

29. Defendant Thomas D. Leach (“Leach”) was Tribune’s Senior Vice President
of Development at the time of the LBO Transaction. Upon information and belief, Leach sold
50,740 shares of Tribune stock in connection with the LBO Transaction from which he received

approximately 31,725,160 in cash proceeds Upon information and belief, Leach also received

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additional monetary special incentives in connection with consummation of the LBO
Transaction. Upon information and belief, Leach lives in Illinois.

30. Defendant Luis E, Lewin (“Lewin”) was Tribune’s Senior Vice President of
Hurnan Resources at the time of the LBO Transaction. Upon information and belief, Lewin sold
22,814 shares of Tribune stock in connection with the LBO Transaction from which he received
approximately 8775,676 in cash proceeds Upon information and belief, Lewin also received
additional monetary special incentives in connection with consummation of the LBO
Transaction. Upon information and belief, Lewin lives in lllinois

31. Defendant R. Mark Mallory (“Mallory”) was Tribune’s Vice President and
Controller at the time of the LBO Transaction. Upon information and belief, Mallory sold
108,570 shares of Tribune stock in connection with the LBO Transaction from which he
received approximately $3,691,380 in cash proceeds Upon information and belief, Mallory
also received additional monetary special incentives in connection with consummation of the
LBO Transaction. Upon information and belief, l\/lallory lives in Illinois. Upon information
and belief, Mallory has filed at least one proof of claim in the Debtors’ Chapter 11 cases

32. Defendant Ruthellyn l\/lusil (“Musil”) was Tribune’s Senior Vice President of
Corporate Relations at the time of the LBO Transaction. Upon information and belief, Musil
sold 65,391 shares of Tribune stock in connection with the LBO Transaction from which she
received approximately $2,185,875 in cash proceeds Upon information and belief, Musil also
received additional monetary special incentives in connection with consummation of the LBO

Transaction. Upon information and belief, Musil lives in lllinois.

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33. The defendants named above in 1[1[ 24-32 (along with FitzSirnons) are
sometimes collectively referred to herein as the “Officer Defendants” Collectively, the
Director Defendants and the Officer Defendants will be referred to herein as the “D&O
Defendants.” All claims of the D&O Defendants reflected on the Debtors’ Schedules or any
proofs of claim filed by, or on behalf of, any of the D&O Defendants are collectively referred to
herein as the “D&O Creditor Claims”

34. Upon information and belief, defendant Harry Amsden (“Amsden”) Was the
Vice President of Finance of Tribune Publishing Company, a subsidiary of Tribune, at the time
of the LBO Transaction, and is currently Tribune’s Senior Vice President of financial
Operations Upon information and belief, Amsden received monetary special incentives in
connection with consummation of the LBO Transaction. Upon information and belief, Amsden
lives in lllinois. Upon information and belief, Arnsden has filed a proof of claim reflecting at
least two proofs of claim in the Debtors’ Chapter 11 cases ln addition, upon information and
belief, the Debtors have listed Arnsden as the holder of one or more unsecured claims on the
Debtors’ Schedules.

35. Defendant Stephen D. Carver (“Carver”) was a director of one or more of the
Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief, Carver
received monetary special incentives in connection with consummation of the LBO Transaction.
Upon information and belief, Carver lives in Connecticut. Upon information and belief, the

Debtors have listed Carver as the holder of one or more unsecured claims on the Debtors’

Schedules.

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36. Defendant Thomas S. Finke (“Finke”) was a director of one or more of the
Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief, Finke
received monetary special incentives in connection with consummation of the LBO Transaction.
Upon information and belief, Finke lives in illinois

37. Defendant Robert Gremillion (“Gremillion”) was a director of one or more of
the Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief,
Grcmillion received monetary special incentives in connection with consummation of the LBO
Transaction. Upon information and belief, Gremillion lives in lllinois. Upon information and
belief, the Debtors have listed Gremillion as the holder of one or more unsecured claims on the
Debtors’ Schedules.

38. Defendant David Dean Hiller (“l-liller”) Was the publisher of the Los Angeles
Times and a member of the boards of directors of the l\/lcCormick Foundation and the Cantigny
Foundation at the time of the LBO Transaction. Hiller is currently the President and CEO of the
McCorrnick Foundation. Hiller was also a director of one or more of the Subsidiary Guarantors
at the time of the LBO Transaction. Upon information and belief, Hiller received monetary
special incentives in connection with consummation of the LBO Transaction. Upon information
and belief, Hiller lives in Illinois. Upon information and belief, the Debtors have listed Hiller as
the holder of one or more unsecured claims on the Debtors’ Schedules.

39. Defendant Timothy P. Knight (“Knight”) was a director of one or more of the
Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief, Knight
received monetary special incentives in connection with consummation of the LBO Transaction.

Upon information and belief, Knight lives in New York. Upon information and belief, the

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Debtors have listed Knight as the holder of one or more unsecured claims on the Debtors’
Schedules.

40. Defendant Tiinothy Landon (“Landon”) was a director of one or more of the
Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief,
Landon sold 45,981 shares of Tribune stock in connection with the LBO Transaction from
Which he received approximately 331 ,5 63,3 54 in cash proceeds Upon information and belief,
Landon also received additional monetary special incentives in connection with consummation
of the LBO Transaction. Upon information and belief, Landon lives in Illinois.

41. Defendant Richard H. Malone (“Malone”) was a director of one or more of
the Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief,
Malonc received monetary special incentives in connection with consummation of the LBO
Transaction. Upon information and belief, Malone lives in lllinois

42. Defendant Durham J. Monsma (“Monsma”) was a director of one or more of
the Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief,
Monsma lives in Connecticut. Upon information and belief, Monsma has filed at least
one proof of claim in the Debtors’ Chapter 11 cases

43. Defendant lrving L. Quimby (“Quimby”) was a director of one or more of the
Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief,
Quimby received monetary special incentives in connection with consummation of the LBO
Transaction. Upon information and belief, Quimby lives in Maryland.

44. Defendant John E. Reardon (“Reardon”) was the President of Tribune

Broadcasting Company, a subsidiary of Tribune, at the time of the LBO Transaction. Reardon

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was also a director of one or more of the Subsidiary Guarantors at the time of the LBO
Transaction. Upon information and belief, Reardon sold 63,837 shares of Tribune stock in
connection with the LBO Transaction from which he received approximately $2,170,458 in cash
proceeds Upon information and belief, Reardon also received additional monetary special
incentives in connection with consummation of the LBO Transaction. Upon information and
belief, Reardon lives in lllinois.

45. Defendant Scott C. Smith (“Smith”) was the President of Tribune Publishing
Company, a subsidiary of Tribune, at the time of the LBO Transaction. Smith was also a
director of one or more of the Subsidiary Guarantors at the time of the LBO Transaction. Upon
information and belief, Smith sold 225,271 shares of Tribune stock in connection with the LBO
Transaction from which he received approximately 37,659,214 in cash proceeds Upon
information and belief, Smith also received additional monetary special incentives in connection
with consummation of the LBO Transaction. At the time of the LBO Transaction, Smith was
also a member of the boards of directors of the McCormick Foundation and the Cantigny
Foundation, and still holds those positions Upon information and belief, Smith lives inllllinois
Upon information and belief, the Debtors have listed Smith as the holder of one or more
unsecured claims on the Debtors’ Schedules.

46. Defendant John J. Vitanovec (“Vitanovec”) was the Executive Vice President
of Tribune Broadcasting Company, a subsidiary of Tribune at the time of the LBO Transaction.
Vitanovec was also a director of one or more of the Subsidiary Guarantors at the time of the
LBO Transaction. Upon information and belief, Vitanovec received monetary special

incentives in connection with consummation of the LBO Transaction. Upon information and

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belief, Vitanovec lives in Illinois. Upon information and belief, the Debtors have listed
Vitanovec as the holder of one or more unsecured claims on the Debtors’ Schedules

47. Defendant Kathleen l\/l. Waltz (“Waltz”) was a director of one or more of the
Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief, Waltz
received monetary special incentives in connection with consummation of the LBO Transaction.
Upon information and belief, Waltz lives in Florida.

48. Defendant David D. Williams (“Williams”) was a director of` one or more of
the Subsidiary Guarantors at the time of the LBO Transaction. Upon information and belief,
Williams received monetary special incentives in connection with consummation of the LBO
Transaction. Upon information and belief, Williams lives in Illinois. Upon information and
belief, the Debtors have listed Williams as the holder of one or more unsecured claims on the
Debtors’ Schedules

49. Defendant John D. Worthington, IV (“Worthington”) was a director of one or
more of the Subsidiary Guarantors at the time of the LBO Transaction. Upon information and
belief, Worthington lives in Maryland.

50. The defendants named above in 1111 34-49 (along with FitzSimons, Bigelow,
Hianik, and Kenney) are collectively referred to herein as the “Subsidiary Defendants” All
claims of the Subsidiary Defendants reflected on the Debtors’ Schedules or any proofs of claim
filed by, or on behalf of, any of the Subsidiary Defendants are collectively referred to herein as
the “Subsidiary Creditor Claims”

51. Defendants Chandler Trust No. 1 and Chandler Trust No. 2 (collectively, the

“Chandler 'l`rusts”) are California trusts established for the benefit of the Chandler family. The

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Chandler Trusts were at the time of the LBO Transaction among Tribune’s largest shareholders
At the time of the LBO Transaction, the Chandler Trust Representatives represented the
Chandler Trusts’ interests on the Tribune Board. Upon information and belief, the Chandler
Trusts sold 48,716,163 shares of Tribune stock in connection with the LBO Transaction, from
which they received approximately $1,656,349,542 in cash proceeds

52. Defendant Robert R. l\/lcCormick Foundation (the “McCormick Foundation”)
is a tax-exempt charitable foundation located in lllinois At the time of the LBO Transaction,
the McCormick Poundation was among Tribune’s largest shareholders The investment and
voting power of the McCormick Foundation is vested in a board of five directors all of whom
are current or former Tribune executives and included defendants FitZSimons, Hiller and Smith
at the time of the LBO Transaction. Upon information and belief, the McCorrnick Foundation
sold 28,023,788 shares of Tribune stock in connection with the LBO Transaction, from which it
received approximately 3952,808,792 in cash proceeds

53. Defendant Cantigny Foundation is a tax~exempt charitable foundation located
in Illinois. At the time of the LBO Transaction, the Cantigny Foundation held shares of
Tribune. The investment and voting power of the Cantigny Foundation is vested in a board of
five directors all of whom are current or former Tribune executives and included defendants
FitzSimons, Hiller and Smith at the time of the LBO Transaction. The Cantigny Foundation is
institutionally associated with the l\/lcCormick Foundation (together, the “Foundations”), and
collectively the Foundations were at least the second largest shareholder of Tribune at the time

of the LBO Transaction. Upon information and belief, the Cantigny Foundation sold 3,259,000

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shares of rl`ribune stock in connection with the LBO Transaction, from which it received
approximately 3110,806,000 in cash proceeds

54. The defendants named above in 1111 51-53 are collectively referred to as the
“Large Shareholders.” The Large Shareholders held at least 33% of Tribune’s stock
immediately prior to the LBO Transaction.

55. Defendant Samuel Zell is a billionaire investor who is the controlling party of
the entity that entered into an Agreement and Plan of Merger with Tribune on April l, 2007.
Zell was elected to Tribune’s Board on May 9, 2007, before consummation of the LBO
Transaction, and became the Chairman of the Board as well as Tribune’s President and Chief
Executive Officer in December 2007 upon completion of the deal. Upon information and belief,
Zell sold 2,278 shares of Tribune stock in connection with the LBO Transaction from which he
received approximately $77,452 in cash proceeds Upon information and belief, Zell lives in
lllinois.

56. Defendant Equity Group Investments, L.L.C. (“EGI”) is a private investment
company located in lllinois. Defendant Zell holds a controlling interest in EGI and is its
President and Chairman. Upon information and belief, EGI has filed at least one proof of claim
in the Debtors’ Chapter ll cases

57. Defendant EGl-TRB, L.L.C. (“EGI-TRB”) is a Delaware limited liability
company that was formed solely for the purpose of entering into and consummating the LBO
Transaction. Defendant Zell is the founder and President of EGl-TRB. Upon information and
belief, EGI-TRB is wholly owned by Sam Investment Trust, an Illinois trust established for the

benefit of defendant Zell and his family. EGI-TRB has no board of directors or similar board of

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managers Upon information and belief, at all relevant times, there existed a unity of interest
between Zell and EGl~TRB such that any individuality or separateness between Zell and EGI-
TRB ceased, and EGI-TRB was Zell’s alter ego. Upon information and belief, Zell controls
EGl-TRB. Upon information and belief, EGI~TRB sold 1,470,588 shares of Tribune stock in
connection with the LBO Transaction, from which it received approximately $50,000,000 in
cash proceeds (the “EGl-TRB Cash Proceeds”). ln or about December 2007 and in connection
with the LBO Transaction, Tribune also repaid an unsecured subordinated exchangeable
promissory note, dated April 23, 2007, that EGI~TRB had acquired from Tribune in the
principal amount of $200 million (the “Exchangeable Note”). Tribune paid approximately
3206,418,859 including interest to EGI~TRB on the Exchangeable Note (the “Exchangeable
Note Transfer”). ln addition, Tribune made payments to EGl-TR_B for its legal fees and other
expenses in connection with the LBO Transaction (the “EGI-TRB Fee Payments,” together with
the EGI-TRB Cash Proceeds and the Exchangeable Note Transfer, the “EGI-TRB Transfers”),
in an amount to be determined at trial but approximately $5,000,000.

5 8. On December 20, 2007, EGI~TRB purchased from Tribune a $225 million
subordinated promissory note due December 20, 2018 (the “Subordinated Notc”). Pursuant to
the subordination agreement dated as of December 20, 2007, entered into by EGI-TRB (the
“Subordination Agreement”), the claims arising from the Subordinated Note, including principal
and interest and all other obligations and liabilities of Tribune to EGI-TRB, are subordinate and
junior to all obligations indebtedness and other liabilities of Tribune with certain inapplicable
exceptions Following execution of the Subordination Agreement, EGI-TRB assigned minority

interests in the Subordinated Note to certain assignees Upon information and belief, EGI-TR_B

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has filed at least one proof of claim in the Debtors’ Chapter 11 cases (the “EGI-TRB Proofs of
Claim”). ln addition, upon information and belief, the Debtors have listed EGI-TRB as the
holder of one or more unsecured claims on the Debtors’ Schedules All claims of EGI-TRB
reflected on the Debtors’ Schedules or the EGl-TRB Proofs of Claim are collectively referred to
herein as the “EGI-TRB Creditor Claims”

59. Defendant Sam Investment Trust is an lllinois trust established for the benefit
of Zell and his family. Sam Investment Trust wholly owns defendant EGI-TRB.

60. The defendants named above in 1111 55-59 are collectively referred to as the
“Zell Defendants” All claims of the Zell Defendants (other than the EGI-TRB Creditor Claims)
reflected on the Debtors’ Schedules or any proofs of claim filed by, or on behalf of, any of the
Zell Defendants (other than EGI-TRB) are collectively referred to herein as the “Zell Creditor
Claims.”

61. Upon information and belief, defendants Tower CH, L.L.C., Tower DC,
L.L.C., Tower DL, L.L.C., Tower EH, L.L.C., Tower Greenspun DGSPT, LLC, Tower
Greenspun JGGSTP, LLC, Tower Greenspun SGFFT, LLC, Tower Greenspun, L.LC., Tower
HZ, L.L.C., Tower JB, L.L.C., Tower JK, L.L.C., Tower JP, L.L.C., Tower JS, L.L.C., Tower
KS, L.L.C., Tower LL, L.L.C., Tower LM, L.L.C., Tower LZ, L.L.C., Tower MH, L.L.C.,
Tower MS, L.L.C., Tower MZ, L.L.C., Tower NL, L.L.C., Tower PH, L.L.C., Tower PT,
L.L.C., Tower SF, L,L.C., Tower TT, L.L.C., Tower VC, L.L.C., and Tower WP, L.L.C.
(collectively, the “'l`ower Defendants”) are assignees of EGI-TRB’s interests in the
Subordinated Note. Upon information and belief, the Tower Defendants are affiliated or closely

aligned With EGI and EGl-TRB. Upon information and belief, each of the Tower Defendants

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has filed at least one proof of claim in the Debtors’ Chapter 11 cases (the “Tower Proofs of
Claim”). All claims of the Tower Defendants reflected on the Debtors’ Schedules or the Tower
Proofs of Claim are collectively referred to herein as the “Tower Creditor Claims.”

62. Defendant GreatBanc Trust Company (“GreatBanc”) was engaged by
Tribune as trustee of its ESOP Trust in connection with the LBO Transaction. GreatBanc
negotiated the terms of the ESOP’s investment in the LBO Transaction, including the price to be
paid by the ESOP for the shares of Tribune Common Stook to be purchased by the ESOP. On
April 1, 2007, Tribune entered into the ESOP Purchase Agreement with GreatBanc (on behalf
of the ESOP), pursuant to which Tribune sold 8,928,571 shares of Tribune Common Stook to
the ESOP at a price of 828 per share

63. Defendant Duff & Phelps, LLC, was initially engaged by Tribune to provide
a solvency opinion to Tribune in connection with either a spin-off of the Company’s
broadcasting operations or the LBO Transaction. Tribune and the Special Committee then
engaged Duff & Phelps to explore Tribune’s adoption of an E_SOP and such ESOP’s potential
participation in the proposed LBO Transaction. Shortly thereafter, GreatBanc engaged Duff &
Phelps as its financial advisor in connection with the LBO Transaction. Tribune and the ESOP
agreed that if a solvency opinion was required, Duff & Phelps would render the solvency
opinion directly to the ESOP, and the Tribune Board would be given the right to rely on the

l opinion. On March 29, 2007, Duff & Phelps delivered a preliminary report to GreatBanc, in

which it reviewed the terms of the LBO Transaction and indicated that “in its opinion, on a post-
transaction basis, taking into account the S corporation tax shield, the fair salable value of

[Tribune’s] assets is greater than its liabilities” Duff & Phelps cautioned, however, that it was

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“able to issue its financing opinion because of the anticipated benefits of the S corporation tax
shield. lf those tax benefits [were] not considered, [Duff` & Phelps] Would be unable to render
its opinion.” The ESOP subsequently revised the terms of Duff & Phelps’ engagement to
provide for Duff & Phelps to deliver an opinion as to “the financial viability of [Tribune], as a
going concern, and on a going-forward basis,” following the close of the LBO Transactions. On
April 1, 2007, as a condition to closing under the ESOP Purchase Agreement, Duff & Phelps
delivered a fairness opinion to GreatBanc in which it stated, among other things that the price
of $28.00 per share to be paid by the ESOP for shares of Tribune’s common stock was not
greater than fair market value, and that the terms and conditions of the LBO Transaction were
fair and reasonable to the ESOP from a financial point of view.

64. Defendant Valuation Research Corporation (“VRC”) is a financial advisory
firm that provides fairness and Solvency opinions in support of transactions VRC is
headquartered in Wisconsin. Tribune retained VRC to provide solvency opinions and VRC
provided solvency opinions in connection with the LBO Transaction. VRC received payments `
from Tribune for certain fees and expenses in connection with the LBO Transaction (the “VRC
Transfers”), in an amount to be determined at trial but no less than $1,500,000.

65. Upon information and belief, defendant The DFA Investment Trust Company
is a Delaware statutory trust that sold at least 1,291,15 8 shares of Tribune stock in connection
with the LBO Transaction from which it received a minimum of $43,889,372 in cash proceeds

66. Upon information and belief, defendant DFA Investment Dimensions Group,
lnc. is a Maryland corporation that sold at least 73,351 shares of Tribune stock in connection

with the LBO Transaction from which it received a minimum of $2,493,934 in cash proceeds

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67. Upon information and belief, defendant The AllianceBernstein Portfolios is a
Massachusetts business trust that sold at least 22,825 shares of Tribune stock in connection with
the LBO Transaction from which it received a minimum of $776,050 in cash proceeds

68. Upon information and belief, defendant Frank W. Denius lives in Texas and
sold 52,882 shares of Tribune stock in connection with the LBO Transaction from which he
received $1,797,988 in cash proceeds

69. Upon information and belief, defendant Donald M. l-linman Jr. lives in
Illinois and sold 43,000 shares of Tribune stock in connection with the LBO Transaction from
which he received approximately $l,462,000 in cash proceeds

70. Upon information and belief, defendant Lewis Taman lives in Illinois and
sold approximately 67,888 shares of Tribune stock in connection with the LBO Transaction
from which he received $2,308,198.67 in cash proceeds

71. Upon information and belief, defendant William F. Warchol lives in Illinois
and sold 48,000 shares of Tribune stock in connection with the LBO Transaction from which he
received $1,632,000 in cash proceeds

72. Does 1-25 (the “Additional Parties”) are persons and legal entities -
including but not limited to consultants advisors and/or other shareholders directors and
officers of Tribune and its subsidiaries and affiliates - who aided and abetted, benefited from, or
otherwise participated directly or indirectly in the wrongful acts alleged in this complaint The
identities of the Additional Parties will be determined through discovery in this proceeding

73. Defendant Morgan Stanley & Co. lnc. (“Morgan Stanley”) was engaged by

the Company to act as a financial advisor to the Special Committee of the Tribune Board in

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connection with the LBO. ln addition, Morgan Stanley acted as a financial advisor to the
Company in late 2008, immediately before the Petition Date. Morgan Stanley or one of its
affiliates was also one of the lenders on the 2006 Bank Debt and the LBO Debt.

74. Defendant Morgan Stanley Capital Services, lnc. (“MSCS”) is an affiliate of
Morgan Stanley that entered into an interest rate swap with The Times Mirror Company, a
predecessor of the Company, in 1994.

75 . Defendant Merrill, Lynch, Pierce, Fenner & Smith lncorporated (“Merrill”)
acted as financial advisor to the Tribune Company in connection with the LBO (together with
Merrill Lynch Capital Corporation, “Merrill Lynch”) and served as one of the lead arrangers for
the Senior Credit Facility and the Bridge Facility.

76. Defendant Citigroup Global l\/.[arkets, lnc. (“CGl\/ll”) acted as financial
advisor to the Company in connection with the LBO and served as one of the lead arrangers for
both the Senior Credit Facility and the Bridge Facility.

CLASS ALLEGATIONS

 

77. Pursuant to Rule 23(b)(1) & (b)(3) of the Federal Rules of Civil Procedure,
made applicable to this adversary proceeding by Rule 7023 of the Federal Rules of Bankruptcy
Procedure, the claims set forth in Count Thirteen of this Complaint are brought against the
defendants named above in ‘|H[ 65-71 (collectively, the “Shareholder Defendants”) individually
and as representatives of a defendant class of similarly situated persons and legal entities (the
“Shareholder Class”).

78. The Shareholder Class is comprised of all persons or legal entities who were

the beneficial or legal owners of at least 35 shares of Tribune stock that were purchased,

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repurchased, or redeemed by Tribune in connection with the LBO Transaction, and who
therefore were the beneficial or legal recipients of in excess of $1,175 in payments by Tribune,
excluding the D&O Defendants, the Subsidiary Defendants, the Large Shareholders, Zell, and
EGl-TRB.

79. Tribune’s total payments to the D&O Defendants, the Subsidiary Defendants,
the Large Shareholders, Zell, EGl-TRB, the Shareholder Defendants, and the Shareholder Class
in connection with the LBO Transaction for the purchase, repurchase, or redemption of the
approximately 243,121,164 outstanding shares of Tribune stock exceeded 38 billion (the
“Shareholder Transfers”).

80. A list of the more than 3,000 members of the Shareholder Class that have
been identified by the Committee to date is incorporated herein by reference and attached hereto
as Exhibit A. Upon information and belief, the Shareholder Class is comprised of thousands of
additional members Accordingly, the Shareholder Class is so numerous that joinder of all of its
members is impracticable

81. There are questions of law and fact common to the Shareholder Class which
predominate over any issues that may involve individual members of the Shareholder Class,
including without limitation:

(a) Whether Tribune, by and through its officers and directors acting
individually and collectively, made the Shareholder Transfers with the
actual intent to hinder, delay, and defraud Tribune’s creditors;

(b) Whether Tribune received less than reasonably equivalent value in

exchange for the Shareholder Transfers;

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(c) Whether Tribune was insolvent at the time of the Shareholder Transfers
or became insolvent as a result of the Shareholder Transfers;
(d) Whether, at the time of the Shareholder Transfers Tribune was engaged
in business or a transactionJ or was about to engage in business or a
transaction, for which Tribune was left with unreasonably small capital;
and
(e) Whether, at the time of the Shareholder Transfers, Tribune intended to
incur, or believed that it would incur, debts that would be beyond its
ability to pay as such debts matured
82. Any possible defenses of the Shareholder Defendants are typical of those of
the Shareholder Class
83. If the Committee obtains a judgment in its favor on the claims set forth in
Count Thirteen herein, the Shareholder Transfers Will be avoided and the amounts paid will be
recovered from the Shareholder Class The Shareholder Defendants collectively face a risk of
loss of a minimum of 854,359,542.67 on those claims The Shareholder Defendants will fairly
and adequately protect the interests of the entire Shareholder Class
84. The prosecution of separate actions against the individual members of the
Shareholder Class would create a risk of (a) inconsistent or varying adjudications with respect to
individual members of the Shareholder Class that would establish incompatible standards of
conduct, and/or (b) adjudications with respect to individual members of the Shareholder Class

that, as a practical matter, would be dispositive of the interests of the other members not parties

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to the individual adjudications or would Substantially impair or impede their ability to protect
their interests

85. A defendant class action is superior to other available methods for fairly and
efficiently adjudicating this controversy because, U M, it avoids a multiplicity of individual
adjudications with respect to the many thousands of individual members of the Shareholder

Class, thereby conserving the resources of the Debtors’ estates and of the Court

 

FACTUAL BACKGROUND
I. Corporate Structure
86. Founded in 1847, Tribune is America’s largest employee-owned media and

entertainment company, reaching more than 80% of U.S. households through its newspapers
and other publications its television and radio broadcast stations and cable channels and its
other entertainment offerings Headquartered in Chicago, illinois Tribune’s operations are
conducted through two primary business segments: (i) publishing, and (ii) broadcasting and
entertainment Tribune’s publishing segment owns maj or newspapers in many of the most

significant markets in the United States including the Chicago Tribune, the Los Angeles

 

Times the Baltimore Sun, the South Florida Sun-Sentinel, the Orlando Sentinel, and the
Hartford Courant. Tribune’s broadcasting and entertainment segment owns numerous radio
and television stations in major markets

87. As of the date Tribune initiated its bankruptcy cases the publishing
segment employed approximately 12,000 full-time equivalent employees and the
broadcasting and entertainment segment employed an additional 2,600 full-time equivalent

employees

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II. Tribune’s Financial Condition Deteriorated And
The Large Shareholders Began Agitating For Change

(A) The Chandler Trusts

88. In June 2000, Tribune merged with the Times Mirror Company, which was
owned by the Chandler family. As a result of this merger, the Chandler family became
Tribune’s second largest shareholder and was awarded three Seats on Tribune’s Board. Until
June 2007, defendants Chandler, Goodan and Stinehart represented the Chandler family
interests on the Board.

89. Shortly after the June 2000 merger with the Times Mirror Company, Tribune
began experiencing financial difficulties and a steady decline in its stock price.

90. Beginning in late 2005, the Company’s Board undertook a strategic review of
the broadcasting and entertainment sector of the Company’s business and considered possible
changes to the structure and ownership of its properties The Company retained the services of
Merrill on or about Ootober 17, 2005, to assist in this evaluation and approved in advance
Merrill Lynch’s participation in financial transactions that might develop from the strategic
review. r1`he Company later retained CGMI to assist in the evaluation as well and provided to
CGMI the same advance approval to participate in financial transactions resulting from the
review. Pursuant to their advisory engagements with the Company, both Merrill and CGMI
stood to reap millions of dollars in fees which would increase if the -Company entered into a
transaction at the recommendation of Merrill and CGMI.

91. ln or about February 2006, the Chandler Trusts began to complain about

Tribune’s performance and criticize the Board. The Chandler Trusts admonished the Board

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that, absent some progress with respect to performance of Tribune’s stock price, the Chandler
Trusts would themselves begin exploring a “f`undamental transaction” involving Tribune.

92. ln May 2006, the Board, with the advice of Merrill and CGl\/ll, decided to
engage in a leveraged recapitalization transaction pursuant to which it would borrow money to
repurchase up to 75 million shares of its common stock. The Chandler Trusts’ three
representatives on the Board voted against the transaction The Company nonetheless elected to
proceed with the repurchase of 55 million shares for a total of nearly $1.8 billion through a
public tender offer and a private transaction With the Robert R. McCormick Tribune Foundation
and the Cantigny Foundation (the “Foundations”) (the “2006 Repurchase”). As a result of the
share repurchases, the Chandler Trusts would become the Company’s largest stockholders The
Foundations would continue to be major shareholders

93. In a publicly filed letter to the Tribune Board on June 13, 2006, which was
signed by defendant Stinehart _ who was himself a member of the Board -the Chandler Trusts
advised the Board that they Would not participate in the 2006 Repurchase because it would not
accomplish their objectives The Chandler Trusts complained that “[o]ver the past two years
Tribune has significantly underperformed industry averages and there is scant evidence to
suggest the next two years will be any different.” The Chandler Trusts explained that the “[t]he
gravity of management’s failure to address fundamental strategic issues is apparent from the
precipitous decline in stock value over the past three and a half years . . . [S]ince the beginning
of 2003 (when current management of Tribune Was put into place), the value of Tribune’s stock

has declined over 38% _ substantially worse than both the newspaper peer group (down 8.8%)

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and the broadcasting peer group (down 29%).” The Chandler Trusts added that “it is the time
for prompt, comprehensive action.”

94. In their letter, the Chandler Trusts pointedly reminded the Board that “the
Trusts are the largest investor in the Company, and, more than any other shareholder, it is in
their interest to see that either current value is maximized or a value enhancing strategic
repositioning occurs” To that end, the Chandler Trusts demanded that the Board “promptly
appoint a committee of independent directors to oversee a thorough review of the issues facing
Tribune and to take prompt decisive action to enhance stockholder value.” The Chandler Trusts
concluded by stating that “[w]e are prepared to work directly and cooperatively with such a
committee to further our common objective of maximizing value.” They also threatened,
however, “to begin actively purs[uing] possible changes in Tribune’s management and other
transactions to enhance value realized by all Tribune stockholders” if timely action were not
taken by the Board.

95. On June 27, 2006, Tribune announced that through the 2006 Repurchase it
had repurchased a total of 55 million shares at a cost of nearly $1.8 billion in debt Defendant
FitzSimons reported that “[t] his leveraged recapitalization represents a very meaningful Step in
our plan to enhance value for shareholders.” As a result of the 2006 Repurchase and the
Chandler Trusts’ decision not to tender any shares the Chandler Trusts replaced the
Foundations as Tribune’s largest stockholder and increased their percentage ownership in
Tribune to approximately 20%. The Foundations collectively remained Tribune’s second

largest shareholder, with approximately 13% of the Company’s shares

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96. Notwithstanding FitzSimons’ public statement, the 2006 Repurchase was
undersubscribed and failed to raise Tribune’s stock price. Prior to the 2006 Repurchase,
Tribune was well positioned to manage its relatively modest level of debt lndeed, Tribune’s 38
billion in assets provided a healthy cushion over its 32 billion in debt. However, as a result of
the 2006 Repurchase, Tribune’s debt nearly doubled. Shortly after the 2006 Repurchase was
announced, Moody’s Investors Service cut Tribune’s bond rating to “junk” status due to the
amount of debt that would be incurred in connection with the 2006 Repurchase.

97. As a result of the failure of the 2006 Repurchase, the Chandler Trusts stepped
up their efforts to effect change at Tribune that would maximize the value of the Chandler
Trusts’ ovm investment in the Company. An agenda of “talk_ing points” prepared by the
Chandler Trusts on or about July 17, 2006 for the next Tribune Board meeting underscores the
Chandler Trusts’ extreme dissatisfaction with the Company’s state of affairs and their
preoccupation with their own interests: “Tl'ie Chandler Trusts have seen almost 40% of the
value of their Tribune holdings evaporate into thin air. We believe action must be taken to
recover as much as possible of this loss for the Trusts and for all Tribune stockholders That is
the overriding priority of the Trusts.” The Chandler Trusts through Board member Stinehart as
their spokesperson, planned to demand that the Board promptly respond to the 40% decline in
stock value by appointing a strategy committee to recommend ways to maximize shareholder
value. The Chandler Trusts made clear that they expected that Tribune would take expedited
action. The agenda states that “[t]he Trusts want the company to take steps to maximize the
value to all stockholders in a short timeframe. As Tribune is not a growth company, time is not

on our side. Consequently, we have a real sense of urgency about action.”

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98. in light of the Chandler Trusts’ publicly expressed discontent and their
increasing pressure on the Board, in September 2006 the Board announced that it had
established the Special Committee to oversee management’s exploration of alternatives
Defendants Hernandez, Holden, Morrison, Osborn, Reyes Taft, and White were named to the
Special Committee.

99. On Ootober 2, 2006, Stinehart again wrote to Tribune’s Board on behalf of
the Chandler Trusts regarding the Special Committee: “We appreciate Bill Osborn’s call to
[me] last week . . . . We believe such collaboration is important to assure that the Chandler
Trusts will be in a position to support the conclusions of the special committee This is
especially important since several of the alternatives under consideration would likely require a
vote of the stockholders and possibly other affirmative action by the [Chandler] Trusts.”
Stinehart advised the Board that the Chandler Trust Representatives would agree not to
participate in the Special Committee “provided that they are assured full and bona fide
cooperation and regular communication between the special committee and its advisors and the
Chandler Trusts and their advisors This must include, at a minimum, the opportunity to discuss
with the special committee and its advisors important issues . . . in order that the views of the
Chandler Trusts may be considered by the special committee as it proceeds.”

100. Through their public outcries and insistent demands that the Board act
urgently to maximize the value of their Tribune stock holdings the Chandler Trusts set in
motion the process that, within months Would lead to consideration and approval of the

calamitous LBO Transaction.

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101. ln or around Ootober 2006, the Company retained Morgan Stanley to act as
the financial advisor to the Special Committee. The Company agreed to, and did, pay Morgan
Stanley 310 million in fees for serving in that role.

102. Although Morgan Stanley was the Special Committee’s financial advisor, it
was Merrill and CGMI that solicited third parties to express interest in a buyout of the
Company. By Ootober 2006, 17 potential outside purchasers had expressed interest in the
Company. Merrill and CGMI acted as advisors to the Company in evaluating these proposals
However, Merrill and CGMI each had an inherent conflict of interest If any of the transactions
went forward, Merrill and CGMI were highly likely to participate in financing the transactions
and stood to make tens of millions of dollars in fees from such financingl If no transactions
took place, they would still receive millions of dollars in advisory fees but much less than the
financing fees associated with a large transaction Merrill and CGMI thus had a strong financial
incentive to advise the Company to agree to a substantial sale or recapitalization even if doing
so was not in the best interest of the Company. Both Merrill and CGMI were in fact strong
advocates for the LBO.

(B) The Foundations

103. At the beginning of 2007, dominant shareholder pressure on the Board
intensified when Tribune’s second largest shareholder group, the McCormick and Cantigny
Foundations - affiliated entities that share the same board members all of whom are current or
former Tribune executives as mandated by the Foundations’ incorporation documents - also

began advocating for change that would serve their own interests

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104. On or about January 4, 2007, the Foundations announced that they had
retained Blackstone Group L.P. (“Blackstone”) to advise them in connection with their
investment in Tribune. At the time, Blackstone was working on a separate multi-billion dollar
deal with Zell, who would soon set his sights on acquiring control of Tribune.

105. As the Chandler Trusts had done, the Foundations also wasted no time in
making their position _ and clout - clear to the Company’s leadership On or about January 10,
2007, the McCorrnick Foundation, in a thinly veiled threat, pointed out to the Special
Committee that without the support of the Large Shareholders who collectively owned 33% of
Tribune, it would be “difficult to do a transaction.” That same day, the Foundations’ motivation
y and will to exert their substantial influence over Tribune’s future - and their intent to
consolidate their influence with that of the Chandler Trusts - was laid bare in an internal e-mail
among the McCormick Foundation’s advisors That e-mail stated that the Special Committee
needed to “know[] very specifically what the goals and objectives of 33 percent of the owners
[are] . . . . The independence of the special committee of the board has been important up till
now. But it is time for everyone to declare their intentions.”

106. A few days later, the l\/lcCormick Foundation’s advisors discussed an internal
‘°strategy call” that was scheduled for January 15. The advisors reiterated that “it is important to
make the Foundations’ interest and objectives known at the very least to the special committee
of the board and Dennis [FitzSimons] . . . . [We] also feel, to the degree possible, that
management should be aware of [the McCormick Foundation’s] perspective and that they are in

support of the position(s) we take.”

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107. ln furtherance of the objective to amass and then exert the combined clout of
the Large Shareholders on January 22, 2007, the Chandler Trusts reached out to the
Foundations and advised them that the Chandler Trusts “thought it would be a good idea to have
the two largest stockholders of the Tribune talk with each other” regarding Tribune’s future
direction There was no doubt that the Large Shareholders recognized from the beginning of the
process through which the Company’s future would be decided that, by virtue of their positions
they were able to exert enormous influence over the Board. Acting upon and exploiting this
reality, the Large Shareholders decided to act together to force the Board to meet their needs
From the outset, the Large Shareholders made it crystal clear that the Board needed their
support to achieve any transaction, and that management was to support the “interest and
objectives” of the Large Shareholders Accordingly, the Large Shareholders functioned in
practice as Tribune’s controlling shareholders with respect to any substantial transaction, with
the capacity to block or preclude transactions that they deemed adverse to their own interests

108. lndeed, the Large Shareholders did not sit back idly and let management and
the Special Committee pursue options at their own discretion Rather, the Large Shareholders
interjected themselves at every step of the decision-making process Minutes from Special
Committee meetings in early 2007 reveal that the Special Committee spent significant time
reporting on and discussing conversations with the Foundations and the Chandler Trusts as well
as reviewing letters received from the Large Shareholders 'l`he Large Shareholders’ advisors
were also engaged in direct discussions with Tribune’s management For example, on or about
January 30, 2007, Blackstone met with Tribune at its offices to discuss “possible paths.” This

meeting prompted the reproach from one of Tribune’s financial advisors that “[t]here are some

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fairly well defined rules in this process including contacts with Tribune[;] would appreciate you
sticking to those [rules] as other potential bidders are.”
III. Zell Masterminded The LBO Transaction

109. In late January 2007, billionaire investor Zell emerged as a potential bidder
for Tribune. On information and belief, Zell reached out to the Large Shareholders prior to
making a proposal to Tribune. Blackstone was retained by the Foundations at about the same
time that Blackstone was bidding for _ and ultimately succeeded in acquiring - a Zell company.
On February 7, 2007, one day after Zell sent his initial proposal to the Board, the Chicago
Tribune reported that he had spoken with the McCormick Foundation about his interest in
structuring a proposal for Tribune. The article recognized that Zell would need the McCormick
Foundation’s support to make any deal work. Zell similarly reached out to the Chandler Trusts
regarding his proposed deal. The minutes of the February 12, 2007 Special Committee meeting
reveal that the Special Committee discussed a letter addressed to it from the Chandler Trusts
concerning their meetings with Zell representatives in connection with Zell’s proposal

110. Prior to Zell’s emergence on the scene, the Board had been considering
transactional alternatives to placate the Large Shareholders including a possible sale of the
entire Company, or select assets to an investor and a self-help plan or internal recapitalization
Zell proposed a Wholiy new option. On or about February 6, 2007, Zell wrote to the Board and
proposed to acquire Tribune using a leveraged ESOP structure, an arrangement typically used
by much smaller companies Under Zell’s go-private proposal, Tribune would borrow over 312
billion to buy out its public shareholders and become wholly owned by a newly formed ESOP.

Under the ESOP plan, Zell’s company, defendant EGI, would invest 3225 million (eventually

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increased to 3315 million) in exchange for warrants entitling EGI to buy up to 40% of Tribune.
Zell’s financial engineering would allow him to acquire defacto control over Tribune ~ in a deal
valued at almost 38.3 billion - by putting up only 3315 million of his company’s money.

1 l 1. Thus, defendants Zell and EGI masterininded what ultimately became the
ruinous LBO Transaction. Zell and EGI designed the transaction’s key features including the
use of a highly-leveraged ESOP as the takeover vehicle, and enticed the Board to approve it.
The unique ESOP structure was Zell’s brainchild. On or about February 3, 2007, Tribune’s
financial advisor asked EGI whether the Zell team would consider a “straight investment in the
company . . . without the esop [sic] structure.” EGI responded that Zell’s representatives were
“opposed to a straight investment and that the tax structure [provided by the ESOP] is the only
thing that made [the deal] financially attractive for us.” Defendant FitzSimons also later
acknowledged Zell’s instrumental role in proposing and crafting the LBO Transaction by stating
that “[i]t was Sam’s creativity, personal commitment and investment that made this transaction
possible.”

112. As EGI acknowledged, the ESOP arrangement would provide Zell with
distinct tax advantages Those tax benefits however, did not rest exclusively with Zell. The
Large Shareholders and D&O Defendants stood to reap Windfalls of millions of dollars through
the deferral of capital gains on the sale of their Tribune stock. lndeed, in a research report
published on March 30, 2007, a Wachovia Seourities analyst inferred that the deal was being
structured as an ESOP precisely to capture those tax gains: “We think this benefit [L, the

potential to defer capital gains] could be one of the reasons that the company has been favoring

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the Zell bid, as the Chandler[] [Trusts], the McCormick [Foundation], and management could
all potentially benefit from this.”

113. Those potential financial benefits were not lost upon the D&O Defendants -
virtually all of whom owned Tribune stock. The same day that the Wachovia report was
published, defendant Musil forwarded a summary of it spelling out those tax advantages to
defendants Bigelow, Smith, FitzSimons, Grenesko, Kenney, Landon, Leach, Lewin, and
Reardon Zell’s plan to employ the ESOP vehicle as a means of seizing control of Tribune at
little cost to himself therefore had the additional benefit of advancing the financial interests and
incentives of Tribune’s Board and management

IV. The Large Shareholders And Chandler Trust Representatives Were
At All 'I`imes Intimatelv Involved In Facilitating The LBO Trapsaction

114. At all relevant times the Large Shareholders were kept abreast of the
essential details of Zell’s proposed LBO Transaction. As stated above, in early February 2007,
both the Chandler Trusts and the McCormick Foundation met with Zell and/or his
representatives in connection with his proposal. Moreover, the Special Committee specifically
sought out the views of the Large Shareholders with respect to Zell’s proposal. On March 1,
2007, the McCormick Foundation wrote to the Special Committee to weigh in on the Zell
proposal in response to Tribune’s request

115. The Large Shareholders’ intimate familiarity with the status and evolution of
the LBO Transaction continued throughout the course of the transaction On February 28, 2007,
Tribune’s financial advisors sent the Large Shareholders information and documents related to
Zell’s proposal. On March 7, 2007, Tribune’s financial advisors advised the McCormick

Foundation that the structure of the Zell proposal had changed somewhat and disclosed the

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details of the revised proposal. On March 10, 2007, FitzSimons and Kenney were advised by
Tribune’s financial advisors that the “Chandler[] [Trusts] and the Foundation [were] looking for
[an] update.” On March 25, 2007, Tribune’s financial advisors sent the McCormick Foundation
a summary of the transaction steps of the Zell proposal. On March 27, 2007, the McCormick
Foundation was provided with the latest drafts of the principal deal documents related to the
LBO Transaction that reflected Tribune’s most recent markups

116. Thus, throughout the process the Large Shareholders were aware of the key
terms of the deal, were kept informed of the ongoing negotiations on a real-time basis and
exerted significant ~ indeed, dispositive _ influence over the direction the Company could and
would take.

117. As already noted, starting as early as mid-2006 the Chandler Trust
Representatives were key players in forging the process that facilitated the LBO Transaction.
As representatives of Tribune’s largest shareholders they were intent on persuading their fellow
Tribune Board members that a prompt return of cash to shareholders was the optimal strategic
option Of course, that up-front cash payout to shareholders would provide the greatest benefit
to the Chandler Trusts whose interests the Chandler Trust Representatives promoted The Large
Shareholders and their representatives on the Tribune Board were thus bent on dictating an
expeditious cash-out transaction, without regard for the destructive consequences to the
Company and its creditors from an overly leveraged deal.

V. Zell Induced The D&O Defendants To Enter Into The LBO Transaction

118. The official decision-makers at Tribune, the D&O Defendants held stock in

Tribune and stood to collect cash proceeds of hundreds of thousands of dollars - and, in some

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cases tens of millions of dollars - from their stock sales resulting from the LBO Transaction.
As described above, Zell’s ESOP structure would also ramp up the value of those cash proceeds
by allowing the deferral of capital gains taxes on the stock sales The Officer Defendants,
however, wanted more, and, anxious to get their deal done, Zell and EGI compliedl In
connection with the LBO Transaction, the Board and Zell agreed that certain corporate insiders
including CEO FitzSimons and the other Officer Defendants would receive millions of dollars j
in special incentives for closing the deal.

119, Zell and his representatives were heavily involved in negotiating and
structuring those special financial benefits from the outset On February 16, 2007, at EGl/Zell’s
apparent instruction, counsel for the Zell team prepared a “Summary Tenn Sheet” that set forth
preliminary details of a management equity incentive plan (the “Incentive Plan”). This plan
would provide to key members of Tribune’s management phantom shares (share equivalents
with a future economic value tantamount to actual common stock) with an economic value
equal to a percentage of Tribune’s outstanding capital stock (eventually set at 5%). On
February 19, 2007, EGI forwarded the Surnmary Term Sheet to, among others Grenesko and
Kenney at Tribune, copying Zell on the communication This Summary Term Sheet was then
forwarded on to FitzSimons and Bigelow, two of Tribune’s key executives helping to facilitate
the deal. On February 27, 2007, a top EGI executive authored a note regarding “deal points”
which included using a 5% stock option plan for management as leverage for Tribune
management’s verification that 3100 million in cash savings could be effected through the deal.
lt was clear that from the outset EGl/Zell used the lure of financial incentives to entice

Tribune’s management to support the LBO Transaction.

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120. Not surprisingly; management actively pursued the Incentive Plan. On
March 16, 2007, Bigelow instructed Tribune’s financial advisors to make several changes to the
“Zell model,” including to increase the change of control payments by 320 million for possible
transitional compensation because Tribune management was considering having the “337
million for ‘management deal fees’ rolling in the deal as phantom equity.” On March 26, 2007,
Kazan e-mailed Bigelow regarding the “management equity plan,” and noted that Osborne,
Chair of the Special Committee, “was supposed to talk to Zell today.” The next day, Kazan sent
another e~mail to Bigelow to advise him that negotiations with Zell over the management equity
pool were ongoing and that management was pushing for a 10% pool, rather than the 5% pool
reflected in the original term sheet Kazan concluded that because grants under the new plan
Would likely be in the form of “phantom stock,” there “will be cash distributions down the
roa .”

121. These financial incentive negotiations ultimately yielded substantial benefits
to Tribune’s management At a meeting held on April 1, 2007, the Board approved “special
incentive awards” to recognize the performance of top management in negotiating the LBO
Transaction. These awards included both a cash award component and phantom stock that
would be distributed to management in connection with consummation of the LBO Transaction.

122. Under the lncentive Plan, select executives who played critical roles in the
LBO Transaction received phantom stock with cash equivalent awards worth millions of dollars
This phantom stock allowed management to reap the economic benefits of ownership Without

holding actual ownership for tax purposes Moreover, the managers who received the phantom

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stock were allowed to cash in the stock before ordinary employees could withdraw money from
the ESOP.

123. The plan provided that two tranches of phantom stock were to be awarded
upon consummation of the merger. The first tranche of awards included phantom stock with an
economic value equal to 5% of Tribune’s common stock. Under the plan, awards under the 5%
pool would vest ratably over a 3-year period beginning on the date of grant and, subject to a
redeferral election, would be payable in cash on the fifth anniversary of the grant date. The
second tranche of awards included shares of phantom stock with an economic value equal to 3%
of Tribune’s common stock. Fifty percent of the second tranche awards would be fully vested
upon the grant _ i_.§._, upon consummation of the merger _ and the remaining half would vest on
the one-year anniversary of the grant date.

124. The pools of phantom stock were awarded to members of Tribune’s
management who played critical roles ensuring consummation of the LBO Transaction. Upon
information and belief, several defendants benefited from this plan, including defendant
FitzSimons who received nearly 33 million in phantom stock, and defendant Smith, who
received over 32 million in phantom stock. Each of defendants Bigelow, Grenesko, Hiller,
Kazan, Kenney, Knight, Amsden, Grernillion, Landon, Leach, Reardon, Vitanovec, and Waltz
also received phantom stock immediately upon close of the LBO Transaction.

125. The Board also approved 36.5 million (later reduced to approximately 35
million) in cash “success bonuses” to be paid out to executives and employees of Tribune and/or
its subsidiaries who played “a critical role in overseeing the completion of the transaction.”

Upon information and belief, under this plan, cash awards were made to several defendants

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upon consummation of the LBO Transaction, including Kenney (3600,000), Bigelow
(3400,000), Grenesko (3400,000), Leach (3400,000), Landon (3300,000), Reardon (3200,000),
Amsden (3150,000), Mallory (375,000), Lewin (350,000), and Musil (350,000). Defendants
Kazan, Vitanovec, Gremillion, Knight, and Waltz also received such awards

126. The D&O Defendants Zell, and EGI were also aware that these newly
adopted “special incentive awards” and “success bonuses” were not the only financial incentives
pushing the D&O Defendants and Subsidiary Defendants toward approving and facilitating the
LBO Transaction. For example, the consummation of the LBO Transaction would (and did)
activate the premature vesting of millions of dollars in restricted stock units and stock options
through an incentive compensation plan. Upon information and belief, several of the defendants
directly benefited from these payments including FitzSimons (36,869,559), Grenesko
_(32,699,026), Smith (32,665,784), Reardon (32,005,265), Lewin (31,300,699), Bigelow
(3880,645), Amsden (3717,323), Hianik (3634,019), and other D&O Defendants

127. Upon information and belief, certain of the D&O Defendants and Subsidiary
Defendants received additional non-salary payments and transfers from rl`ribune at or after
consurrmiation of the LBO Transaction (together with the payments and transfers described at
1[1{ 118-26, the “D&O Transfers”).

128. Upon information and belief, Zell and EGl communicated to certain of the
D&O Defendants that they would be rewarded with a future role at Tribune if they helped
facilitate the LBO Transaction. For example, upon information and belief, Zell and/or his

subordinates at EGI signaled to Bigelow that, in the event that the LBO Transaction were to

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close, Bigelow would eventually be promoted to Chief Financial Officer of Tribune. Bigelow
indeed was promoted to Chief Financial Officer of Tribune in or around March 2008.

129. By structuring or agreeing to these financial incentives which constituted
benefits to management in addition to and different from those received by other shareholders
Zell enticed the Officer Defendants to approve, facilitate and recommend the LBO Transaction.
ln a memorandum outlining the benefits that the McCormick Foundation’s board members were
expected to receive upon consummation of the LBO Transaction, the McCormick Foundation’s
counsel acknowledged that “[a]s officers of the Company, Messrs. FitzSimons, Hiller and Smith
will receive certain benefits in addition to the benefits they receive as holders of Company
common stock.” This memorandum explicitly recognized that the special incentive awards
were “conditioned upon the consummation of the Merger.”

130. At the same time that they dangled lucrative financial incentives in front of
the D&O Defendants Zell and EGI sought to gain advantage by pressuring others who they
believed could facilitate - or were seen as hampering - their deal. For example, on or about
March 27, 2007, Zell “made some contact at a senior level” at Moody’s in an effort to obtain a
favorable debt rating for the prospective LBO Transaction. On March 29, 2007, Zell called
Houlihan Lokey Howard & Zukin (“Houlihan”), a solvency opinion firm that had decided not to
bid for the engagement to deliver a solvency opinion for Tribune, and demanded an explanation
for why Houlihan was “holding up his deal.” Finally, on or about March 30, 2007, EGI advised
Bigelow that it had “made some progress with our friendly bankers” in connection with

obtaining a favorable financing package for the LBO Transaction.

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131. The D&O Defendants succumbed both to continuing pressure from the Large
Shareholders to complete a transaction and to the allure of the “cash-out” benefits and special
incentives offered by Zell. (As noted above at 1[ 12, defendant FitzSimons - simultaneously the
CEO of Tribune, Chairman of Tribune’s Board, Chairman of the McCormick Foundation, and a
director of the Cantigny Foundation - alone received benefits and incentives of approximately
341 million in connection with the LBO Transaction.) At a Special Committee meeting held on
March 30, FitzSimons reported that it was “management’s recommendation that the Company
proceed with Mr. Zell’s proposal.” Constrained and hemmed in by the objectives and
preferences pressed by the Large Shareholders the Special Committee recommended that the
full Board approve the LBO Transaction. The D&O Defendants thus cast their support for a
highly leveraged and hazardous deal designed to promptly cash out the Large Shareholders at
the expense of Tribune’s corporate interests and nature health.

VI. The Companv’s Financial Advisors Were Conilicted.

132. The Company’s financial advisors Merrill and CGMI , advised the Company
with respect to Zell’s proposal. Their inherent conflict of interest as advisors and potential
lenders crystallized as the Zell proposal moved forward. At the same time Merrill and CGMI
were advising the Company on Zell’s proposal, they were already negotiating for themselves or
their affiliates to provide financing for the LBO Transaction from which they would receive
millions of dollars in fees and interest at premium rates far higher than the 2006 Bank Debt.
Because Zell’s proposal called for refinancing the 2006 Bank Debt, Merrill and CGMI also
stood to benefit, to the extent`that they participated in the 2006 Bank Debt, from increased

interest rates and improved security in the form of subsidiary guarantees They were thus

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inherently biased in favor of the LBO Transaction without regard to whether it was in the
Company’s interests

133. The Company purportedly recognized its advisors’ conflicts and sought to
mitigate them through the Company’s retention of Morgan Stanley to advise the Special
Committee on the transaction But Morgan Stanley also suffered from a conflict of interest lt
was a documentation agent and one of the lenders on the 2006 Bank Debt. At the time Morgan
Stanley was advising the Special Committee on the LBO Transaction, it knew that the 2006
Bank Debt would be refinanced as part of the LBO Transaction at higher interest rates and
would obtain priority over the Non-Bank Debt. Moreover, Morgan Stanley’s engagement letter
provided for a discretionary success fee in addition to its fixed fee. Morgan Stanley later
aggressively sought such a discretionary fee, although the Company declined to pay it. Like
Merrill and CGMI, Morgan Stanley therefore stood to gain substantially more if the LBO
proceeded than if no transaction were consummated

134. On March 10, 2007, the Company informed Zell that it was reconsidering
whether to proceed with his LBO proposal because, among other things of the high degree of
leverage under that proposal. Thereafter, the Company discussed with the Chandler Trusts and
the Foundations the possibility of pursuing a recapitalization and spin-off transaction with a
lower per share dividend to reduce the leverage required for that transaction

135 . The pause in the Company’s interest in the Zell LBO transaction was brief.
After the other remaining third-party bidder failed to develop a satisfactory competing proposal,
and notwithstanding concerns about the leverage contemplated by the Zell LBO proposal, the

Board, acting with advice from Merrill, CGMI and Morgan Stanley (through its

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recommendations to the Special Committee), approved the LBO proposed by Zell at a final
price of 334 per share at a meeting on April 1, 2007.
VII. Structure Of The LBO Transaction

136. On Sunday evening, April 1, 2007, following management’s endorsement
and the Special Committee’s recommendation, the Director Defendants (other than Taft Wh'o
was absent and the Chandler Trust Representatives who abstained from voting) agreed to Zell’s
proposal and entered into a merger agreement that contemplated that the LBO would proceed in
a two-step transaction In step one, Tribune agreed to purchase approximately 50% of the
Company’s outstanding shares (126,000,000 shares) in a tender offer for 334.00 per share
(“Step One”). Tribune would incur approximately 37.015 billion in debt to achieve Step One.
At step two, Tribune committed to purchase its remaining outstanding shares for 334.00 per
share in the go-private merger following certain regulatory and shareholder approvals (“Step

Two”). Tribune would incur approximately 34 billion in additional debt to complete Step Two.2

 

The following Tribune subsidiaries (the “Subsidiary Guarantors"’) guaranteed the full indebtedness incurred in
connection with the LBO Transaction: 5800 Sunset Productions Inc.; California Community News
Corporation; Channel 39, Inc.; Channel 40, Inc.; Chicago National League Ball Club, LLC; Chicago Tribune
Company; Chicagoland Publishing Company; Chicagoland Television News Inc.; Courant Specialty Products,
Inc.; Distribution Systems of America, Inc.; Eagle New Media Investments, LLC; Eagle Publishing
Investments, LLC; http:!i"forsalebyowner.com)r corp.; Forum Publishing Group, Inc.; Gold Coast Publications,
Inc.; The Hartford Courant Company; Homeowners Realty, Inc.; Homestead Publishing Company; Hoy
Publications, LLC; lnternet Foreclosure Service, Inc.; KlAl-l Inc.; KPLR, Inc.; KSWB Inc.; KTLA Inc.;
KWGN Inc.; Los Angeles Times Communications LLC; The Morning Call, lnc.; New Mass. Media, Inc.;
Orlando Sentinel Communications Company; Patuxent Publishing Company; Southern Connecticut
Newspapers, Inc.; Star Community Publishing Group, LLC; Sternweb, Inc.; Sun-Sentinel Company; The
Baltimore Sun Company; The Daily Press, inc.; TMLH 2, Inc.; TMLS I, Inc.; TMS Entertainment Guides,
Inc.; Tower Distribution Company; Tribune (FN) Cable Ventures Inc.; Tribune Broadcast Holdings, Inc.;
Tribune Broadcasting Company; Tribune Broadcasting Holdco, LLC; Tribune California Properties, Inc.;
Tribune Direct Marketing, lnc.; Tribune Entertainment Company; Tribune Finance LLC; Tribune Interactive,
Inc.; Tribune Los Angeles, Inc.; Tribune Manhattan Newspaper Holdings, Inc.; Tribune Media Net, Inc.;
Tribune Media Services, Inc.; Tribune National Marketin g Company; Tribune ND, Inc.; Tribune New York
Newspaper Holdings, LLC; Tribune NM, lnc.; Tribune Television Company; Tribune Television Holdings,

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137. The Subsidiary Defendants approved guarantees on behalf of the Subsidiary
Guarantors that guaranteed the obligations incurred in connection with the LBO Transaction.
Upon information and belief, there were no separate board meetings for any of the individual
Subsidiary Guarantors to consider the matter, and all actions relating to the Guarantees were
approved on unanimous consent

138. The April 1, 2007 Board minutes reflect that, although the Chandler Trust
Representatives abstained from the Board vote on the proposed LBO Transaction, the Chandler
Trusts had already agreed to vote in favor of the merger at the upcoming special shareholders’
meeting. By entering into a voting agreement that guaranteed sale of their stock, the Chandler
Trusts effectively ensured that the LBO Transaction received the green light to proceed and
would secure shareholder approval. Therefore, the Chandler Trust Representatives’
longstanding advocacy had successfully garnered for the Large Shareholders the benefits of a
full and prompt cash out from a struggling company.

139. On April 2, 2007, Tribune publicly announced that it had agreed to the Zell
proposal. Tribune’s press release had the following headline: “Tribune to Go Private for 334
Per Share; Employee Stook Ownership Plan (ESOP) Created; Sam Zell to Invest, Join Board;
Chicago Cubs and Comcast SportsNet Interest to be Sold,” and stated in relevant part:

With the completion of its strategic review process Tribune Company today
announced a transaction which will result in the company going private and
Tribune shareholders receiving 334 per share. Sam Zell is supporting the

transaction with a 3315 million investment Shareholders will receive their
consideration in a two-stage transaction

 

(Cont’d from preceding page)

Inc.; Tribune Television New Orleans, Inc.; Tribune Television Northwest, Inc.; Virginia Gazette Companies,
LLC; WDCW Broadcasting, Inc.; WGN Continental Broadcasting Company; WPIX, Inc.; and WTXX Inc.

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Upon completion of the transaction, the company will be privately held, with an
Employee Stook Ownership Plan (‘ESOP’) holding all of Tribune’s then-
outstanding common stock and Zell holding a subordinated note and a warrant
entitling him to acquire 40 percent of Tribune’s common stock. Zell will join the
Tribune board upon completion of his initial investment and will become
chairman when the merger closes
The first stage of the transaction was a cash tender offer for approximately 126
million shares at 334 per share. The tender offer will be funded by incremental
borrowings and a 3250 million investment from Sam Zell . . . .
The second stage is a merger expected to close in the fourth quarter of 2007 in
which the remaining publicly-held shares will receive 334 per share. Zell will
make an additional investment of 365 million in connection with the merger,
bringing his investment in Tribune to 3315 million
140. Upon the Board’s April 1, 2007 approval, the agreements between the parties
to the LBO Transaction required Tribune to proceed towards closing both steps of the
transaction At all relevant times Tribune did so proceed
141. The primary structural mechanism used to execute the LBO Transaction was
to create a private S-corporation entity wholly owned by the Tribune ESOP so as to generate tax
benefits Those benefits could only be realized upon consummation of Step Two of the
transaction EGl confirmed the central importance of the S-CorprSOP structure to the LBO
Transaction, stating that “the tax structure is the only thing that made [the ESOP] financially
attractive for us.” The LBO Transaction made economic sense only if Step Two closed and the
anticipated tax savings resulting from the predicate ESOP structure could be realized
142. On April 5, 2007, Tribune publicly disclosed that Zell would effectively have
power to veto maj or transactions even though he was only a minority shareholder. Under the
terms of the deal, transactions with a value of more than 3250 million, among others would

require the approval of the Board, which would include two directors of Zell’s choice. Such

transactions along with any changes to the Company’s by-laws, would require approval of a

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majority of the Board’s independent directors as well as that of one of Zell’s Board appointees
On May 9, 2007, Zell was appointed a member of the Board, before even Step One of the LBO
Transaction had been consummated

143. Accordingly, although the LBO Transaction contained a fiduciary “out” that
granted the Board limited discretion to abandon the Zell deal if a superior offer surfaced by
paying a break-up fee to Zell, the Board did not consider or pursue any alternatives to the Zell
deal after approving the LBO Transaction in April 2007.

144. The commitment letters that were executed at Step One committed Merrill
Lynch Capital Corporation (“MLCC”), CGMI and JPMorgan Chase Bank N.A. (the “Lenders”)
to provide the requisite financing for the entire transaction On March 28, 2007, Bigelow
instructed that a draft press release should state that “Tribune has received committed financing
from Citigroup, Merrill Lynch and JPMorgan sufficient to complete both Steps of the
transaction.”

145 . As already noted and as widely acknowledged by the parties involved,
shareholder approval for the LBO Transaction was effectively secured from its inception The
voting agreement with the Chandler Trusts virtually guaranteed shareholder approvall After
Tribune shares were tendered during Step One, close to 50% of the remaining outstanding
shares were held by the Large Shareholders and those directly under Zell’s control.
Accordi_ngly, only a trivial percentage of the holders of the remaining shares needed to vote in
favor of the merger for shareholder approval to be secured As consistently recognized by
Tribune management, obtaining shareholder approval was never a significant hurdle. On

March 24, 2007, after being asked by an S&P analyst what would happen if all of the shares

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contemplated for tender in the Step One tender offer were not actually tendered, Bigelow
responded that “a smaller first step tender . . . would simply make the second step larger . . . .”
Bigelow added that “[w]e would have all of the voting agreements in place, merger agreement
signed and would fully expected [sic] to close the deal.” ln fact, approximately 90% of
Tribune’s outstanding shares were tendered into the first stage of the tender offer.

146. The parties also believed that FCC approval, another condition of
consummation of the deal, would be obtained because the LBO Transaction entailed no new
combination of assets and therefore the merger merely involved the renewal of existing cross-
ownership waivers As recognized by rating agencies and news analysts FCC approval in these
circumstances was expected On May 3, 2007, for example, Fitch Ratings reported its view that
the necessary regulatory approvals associated with Step Two would be obtained Upon
information and belief, in June 2007 Zell accompanied FitzSimons to WashingtonJ D.C., and

lobbied congressional leaders in order to facilitate FCC approval.

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VIII. The D&O Defendants Turned A Blind Eye To The Foreseeable
And Unavoidable Disastroi_is Consequences Of' The LBO Tra_nsacti£

147. ln response to the considerable pressure for a quick payday exerted by the
Large Shareholders and/or enticed by the personal financial benefits that the deal would provide
them, the D&O Defendants agreed to and facilitated the LBO Transaction even though they
knew, were reckless in not knowing, or reasonably should have known that it would bury the
Company under a crushing mountain of debtl Already beset by deteriorating financial
performance in a declining industry, Tribune was pushed by the LBO Transaction into
insolvency and, within a year, bankruptcy Having turned a blind eye to the foreseeable
consequences of the LBO Transaction in effecting Step One, the D&O Defendants remained, at
minimum, willfully blind in guiding the toxic deal to closure.

148. As made clear by contemporaneous reports and ratings downgrades, the
consequences of the LBO Transaction were not lost upon professional analysts or rating
agencies The generally unfavorable reaction to the LBO Transaction came swiftly.

149. On April 3, 2007 _ one day after the deal was announced - a Goldman Sachs
analyst reported that “with estimated annual interest expense of over 31bn/yr and estimated
EBITDA of 31 .3bn, the transaction leaves little room for error, particularly in this challenging
newspaper operating environment.” The analyst pointed out that the high leverage from the deal
left Tribune in a “precarious financial position.”

150. ln an April 4, 2007 article entitled “How Will Tribune Pay Its Debts?” the
Wall Street Journal quoted a Barclays Capital analyst as stating: “We think it is possible that

Tribune is leveraged higher than the total assets of the company after taxes.”

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151. A Lehman Brothers analyst reported on April 26, 2007 that the “[p]roposed
deal leaves TRB with debt-to-2007E-EBITDA of 11.5x . . . which we believe is far too high for
secularly declining businesses . . . Debt payments should overwhelm EBITDA, by our
calculations”

152. On March 16, 2007, that same Lehman Brothers analyst warned that “putting
this much debt on Tribune’s newspapers and TV stations is way too risky and makes it very
possible to put the company into bankruptcy with or without the added tax savings from the
ESOP financing.”

153. Standard & Poor’s (“S&P”) had a similar prediction and sent a letter to
Bigelow on March 29, 2007 stating that it would downgrade Tribune’s credit rating and, further,
that “the company is expected to default in 2009 when its cash flow and revolving credit
capacity are unable to cover its interest expense, capital expenditures and working capital
needs.”

154. On August 14, 2007, the Lehman Brothers analyst once again warned that
“[i]f the privatization deal does end up going through [as a result of Step Two], we continue to
think the probability of significant financial difficulty at Tribune is much, much greater than
50%/50% - given the secularly declining fundamentals and the large amount of leverage
involved which is currently at 9.6 times 2008E EBITDA and would rise to nearly 12 times if the
second tranche occurs . . . So by our calculations if the second tranche of the privatization deal
happens the company will not be able to cover the estimated annual interest expense from
operations let alone have excess free cash flow to pay down debt each year.” The analyst’s

cautionary warnings of course, proved accurate

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15 5. Moreover, Tribune’s debt was consistently and continuously downgraded by
ratings agencies from the time the deal was announced on April 1, 2007 until the Chapter 11
filing in December 2008,

156. For example, upon announcement of the merger agreement in April 2007 ,
Fitch downgraded Tribune’s bond ratings Citing the increased debt Tribune planned to take on
by virtue of the LBO Transaction, Fitch expressed its belief that the deal would be “detrimental
to bondholders” Fitch accordingly maintained a negative outlook on the Company. Also upon
the announcement of Tribune’s plan to move forward with the LBO Transaction, S&P
downgraded Tribune’s corporate credit rating from BB+ to BB-, and Moody’s placed Tribune
on “negative watch” for both its corporate family rating and probability of default ratings
indicating a high probability of a future downgrade.

157. On April 19, 2007, S&P downgraded Tribune’s credit rating on its unsecured
notes to CCC+ indicating a high default risk. S&P reported that “given the amount of priority
debt ahead of these notes we will assign them a recovery rating of ‘5’ upon the close of the
proposed bank transaction, indicating the expectation for negligible (0% - 25%) recovery of
principal in the event of a payment default.”

15 8. On April 23, 2007, Moody’s lowered Tribune’s corporate family and
probability of default ratings to Ba3 from Bal, citing the “significant increase in leverage” that
would result from Tribune’s plan to repurchase 34.2 billion in common stock through Step One
of the LBO Transaction. Moody’s maintained a negative watch for both ratings

159. On May 3, 2007, Fitch announced that Tribune’s ratings would remain on

“rating watch negative.” The downgrading reflected the “significant debt burden the announced

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transaction places on the company’S balance sheet while its revenue and cash flow have been
declining,” especially in light of “meaningful secular headwinds that could lead to more cash
flow volatility in the future.” Fitch believed that “these factors could impair the company’s
ability to service its debt, particularly if coupled with a cyclical downturn.”

160. On August 20, 2007, S&P lowered Tribune’s corporate credit rating one
notch to B+ from BB- and the bank loan rating to BB from BB+. The negative outlook
“reflect[ed] deterioration in expected operating performance and cash flow generation compared
to previous expectations.”

161. Finally, upon consummation of the LBO Transaction on December 20, 2007,
Fitch lowered the Company’s issuer default rating from B+ to B- in light of the Company’s
“significant debt burden” and declining cash flows Fitch also noted that the Company’s
estimated fixed-charge coverage ratio left “very little room to endure a cyclical downturn.”

162. At all relevant times the D&O Defendants confronted this harsh - and
worsening - economic reality and either knew, were reckless in not knowing, or should have
foreseen that the prospective LBO Transaction would render Tribune insolventl For example,
on February 21, 2007, Kazan e-mailed Bigelow regarding concerns about Tribune’s financial
health: “lf I’m reading this correctly, our plan has us being 347 million below 2006 for the first
half. I don’t know what the bankers will base their threshold number on, but it suggests we
really need to get to the bottom of that, Otherwise, we are already half-way towards not being
able to meet the covenant (which enables us to do the spin).”

163. lndeed, Tribune’s management had already been advised that a deal with the

level of leverage contemplated by the LBO Transaction would be imprudent On January 22,

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2007, Bigelow told Grenesko that one of the bankers had advised Bigelow that a similar
competing bid had “too much leverage and that a self help route would be more prudent.”
Moreover, in a March 10, 2007 e-mail, counsel for the McCormick Foundation reported that
“[t]he Company has apparently concluded that they are not comfortable in . . . the leverage in
the Zell proposal . . .”

164. On March 24, 2007, only a Week before the LBO Transaction was
announced, a Tribune employee wrote to Bigelow after reviewing financial proj ections: “[I]t` I
am reading this right, we have a pretty narrow band for success under the ESOP - i.£, if we are
off plan by 2% we have no value in the ESOP for 5 years.” Bigelow responded and confirmed:
“yes, if we hit the down 2 case there is no equity value in the first 5 yrs.”

165. Therefore, Tribune’s management orchestrating the LBO Transaction
understood that the Company essentially would be rendered insolvent by actual performance a
mere 2% below the financial projections that buttressed the deal. On March 25, 2007, Tribune
management learned that both revenue and operating cash flow for the Company’s publishing
business for the first quarter of 2007 Were, in fact, 2% below plan. Thus, when the LBO
Transaction was announced on April l, 2007, Tribune’s management was well aware that the
Company was already underperforming its own projections by more than 2%, a gap that only
widened with time.

166. In light of this deteriorating financial performance, the Lenders became
concerned about their ability to syndicate the more than $4 billion in additional debt associated
with Step Two of the LBO Transaction. Upon information and belief, Zell and EGI took steps

to reassure the Lenders that the LBO Transaction remained Sound and that Tribune was

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somehow still solvent, meeting with representatives of the Lenders on several occasions For
example, on December l9, 2007, in the final days before consummation of Step Two, Zell
spoke with J ames Lee of JPMorgan Chase Bank N.A. and, upon informationl and belief, assured
Mr. Lee that Tribune was and would remain solvent

IX. Tribune Retained A Solvency Opinion
Firm To Provide Custom-Made Opinions

167. The D&O Defendants recognized that one of the conditions for
consummation of the LBO Transaction -the Company’s ability to secure viable solvency
opinions in connection with both Step One and Step Two of the transaction - could jeopardize
the transaction, The D&O Defendants took steps to ensure that Tribune would obtain the
confirmation of solvency that would allow the deal to proceed, but in so doing they Secured
deeply flawed solvency analyses

168. Finding a solvency opinion firm to provide the requisite opinions turned out
to be no easy task. VRC, a financial advisory firm that provides fairness and solvency opinions
in support of transactions, became the last-ditch choice for Tribune after other solvency opinion
firms declined the engagement to provide the requested solvency opinions. Prior to approaching
VRC, Tribune first approached Houlihan, a prominent solvency opinion firm. I-Ioulihan
expressed internal reservations regarding the solvency work associated with the proposed LBO
Transaction and declined to accept the engagement A Houlihan witness has testified that he
believed it Would have been difficult for Houlihan to find Tribune solvent based on the
preliminary information to which Houlihan had access at the time.

169. On March 29, 2007, Houlihan informed Tribune that it would not bid for the

engagement to deliver a solvency opinion for Tribune. Houlihan’s decision caused Tribune to

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scrarnble to find another firm to provide the opinions On March 30, 2007, Bigelow e-mailed
VRC and stated that he “would very much like to speak with someone about solvency opinion
wor ,” and requested that VRC respond to him that very day. Later that same day, Bigelow
provided preliminary information to VRC. lnternal VRC e-mails reveal that VRC reviewed the
proposed deal and acknowledged that it looked “quite leveraged” and that, consequently, VRC
would “need to be compensated” accordingly

170. VRC was aware of Houlihan’s reservations about the proposed LBO
Transaction prior to accepting the Tribune engagement and recognized that the reluctance
expressed by I-loulihan raised the risk profile associated with the project. Due to the risk
attached to the highly leveraged deal and Houlihan’s disinclination to get involved in the high-
profile Tribune solvency engagement, VRC was able to demand and obtain a high fee for its
' solvency opinions. Tribune’s fee to VRC was among the highest fees VRC had ever received
for solvency opinion work. In exchange for that risk-justified high fee, VRC provided the
Board with written opinions, dated May 9, 2007 and May 24, 2007, as to the solvency and
capital adequacy of Tribune after giving effect to Step One as of those dates. VRC also
provided a solvency opinion, dated December 20, 2007, in connection with consummation of

Step Two of the transaction

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(A) VRC Uncritically Employed Outdated1 Unreasonable
And Unwarranted Financial Proiections In Its Solvency Analvses

l7l. The D&O Defendants took steps to ensure that Tribune obtained favorable
solvency opinions in connection with both Step One and Step Two of the LBO Transaction by
providing VRC with skewed financial proj ections, upon which VRC unjustifiably relied.

172. VRC’s Step One solvency analysis was based on Tribune’s financial
projections finalized by management and approved by the Board in February 2007 (the
“February Proj ections”). The February Projections were substantially higher than Tribune’s
actual operating results. For example, Tribune’s actual publishing revenues for March 2007
were 4.3% below those in the February Projections Similarly, actual publishing revenues for
April and May Were, respectively, 4.9% and 8.6% below plan. Tribune’s broadcasting revenues
over the three-month period fared little better. For March 2007, actual broadcasting revenue
was 3.0% below plan. ln May, broadcasting revenues were 6.4% below the projections In the
aggregate, for the three months of March through May, publishing revenues were $55 million
below those in the February Projections, and broadcasting revenues were $9 million below plan.

173. Tribune managers facilitating the LBO Transaction were fully aware that the
February Proj ections were outdated and unreliable almost immediately after they were finalized
and approved Tribune received weekly “flash reports” that showed the February Proj ections to
be stale soon after dissemination Despite this awareness, Tribune management persistently
declined to revise and update the February Projections until long after Step One _ predicated on
VRC’s two accompanying solvency opinions based on those flawed projections _ had closed.

174. For example, on March 5, 2007, Tribune’s financial advisor asked Kazan if

the Company wanted to revisit the projections as a result of recent data. Kazan responded that

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he was inclined to keep the projections “as is for now.” Further, on March 20, 2007, an EGI
executive disclosed to the EGI team that “Chandler [Bigelow] indicated on [March] 9th that
management needed to sit down and refine their projections for 2007.” On March 21, 2007,
Bigelow told Tribune’s financial advisors that “l am working on whether our hill-year
projections will change and let you know in the morning, but l suspect that for the full-year we
are probably about $25M lower than our original plan.” Also on March 21, Tribune circulated a
document showing actual results for .lanuary and February compared to the plan. Kazan stated
to Bigelow that they needed to discuss the results with Grenesko before including them in a
rating agency presentation or showing them to EGI, as “[t]his is tricky b/c we’ve told Nils
[Larsen of EGI] that we aren?t [sic] changing our plan based on the results from the first two
periods.”

175. Notwithstanding management’s acknowledgements that Tribune’s actual
performance results were meaningfully lagging the February Projections, those projections were
not updated before VRC’s Step One solvency opinions were issued. lndeed, Tribune failed to
provide any updated financial projections to VRC until late September 2007.

l76. Tribune’s financial projections were finally updated by management and
presented, in part, to the Board in October 2007 (the “October Projections”). The October
Proj ections were, to some degree and in the near-term, downwardly revised. However, despite
the continued deterioration of Tribune’s performance after Step One of the LBO Transaction
closed, certain key forecasts in the October Projections were dramatically revised upward from

the February Projections

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177. For example, the October Projections assumed that, as early as 2009,
Tribune’s Interactive (L, Internet-based) business would begin to generate significantly greater
revenues than anticipated by the February Proj ections and thereby mitigate the ongoing decline
in Tribune’s traditional publishing business. This assumption was unwarranted, particularly
because the Interactive business had performed at more than 4% below expectations in 2007.
Even Tirn Landon, the former head of Tribune’s Interactive business, admitted under oath that
this assumption underlying management’s October Projections was illogical: “l’m disappointed
in these numbers lt’s not what l would have expected These are the only numbers that I’ve
looked at today that l don’t feel good about. The other ones were ok, even though they
might’ve turned out wrong. But l don’t believe in the logic behind this.”

178. Moreover, the October Projections forecast that, beginning in 2013 and
accelerating through 2017, Tribune’ s revenue would significantly outperf`orm the February
Projections on a consolidated basis. Specifically, the October Proj ections anticipated an
improved 2.4% revenue growth rate in the 2012 presidential election year and _ without any
good faith basis or justification _ assumed that this 2.4% growth spurt Would be duplicated in
2013 through 2017. ln other words, the October Projections improperly assumed that each of
the five years following the 2012 presidential election year would also enjoy the benefit of a
growth bump occasioned by an election year.

179. As a result of the foregoing, the October Projections were unreliable
Nonetheless, VRC uncritically relied on those October Projections when preparing its Step Two
solvency opinion. For example, by adopting the unjustifiable “election year” growth rate

assumptions for 2013-2017 from the October Projections, VRC’s valuation at Step Two was

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upwardly revised by approximately $613 million. VRC’s reliance on and wholesale adoption of
management’s October Projections was unreasonable, and ignored the more pessimistic (and
realistic) forecast that VRC had prepared internally.

(B) Tribune Instructed VRC To Employ
Unsound Methodologies In Its Solvency Opinions

180. The D&O Defendants prevailed upon VRC to use a series of improper
methodologies when preparing its solvency opinions in connection with Step One and Step Two
of the LBO Transaction. While each of these (and other) flaws rendered VRC’s analysis
unreliable, the sum of them certainly did A solvency analysis free from these biased
assumptions would have concluded that the LBO Transaction would render Tribune insolvent
Yet, enticed by the high fees that only a conclusion of solvency would yield, VRC produced the
solvency opinions that allowed the LBO Transaction to proceed to completion

(i) At Tribune’s Direction, VRC Artificially Separated
The Two Steps for Purposes of Its Step One Solvency Analvs_i§

181. As outlined above, the legal and economic reality of the LBO Transaction
required that the total debt incurred through the transaction be considered in any solvency
analysis conducted as of Step One. The LBO Transaction was _ from beginning to end of the
process - conceived of and promoted, first to Tribune and then to the public, as a single,
integrated transaction for which financing was fully committed

182. Had the hill debt obligations from the entire LBO Transaction been
considered in the Step One solvency analysis, it would have been apparent that Tribune Would

be rendered insolvent, as early as the closing of Step One. VRC’s Step One solvency opinions

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circumvented this conclusion by employing erroneous assumptions and relying on the outdated
and unreasonable February Proj ections

183. AS an outcome-driven measure to ensure closing of the deal, Tribune
executives instructed VRC to exclude consideration of the Step Two debt from its Step One
solvency analysis As a result, in part, of following Tribune’s instructions, VR.C issued
distorted opinions that wrongly portrayed Tribune as solvent.

184. VRC itself realized that the aggregate amount of debt at both steps of the
transaction should be considered in its Step One Solvency analysis Draft VRC solvency
opinions related to the Step One solvency analysis assume consolidation of the aggregate debt
related to both steps of the LBO Transaction.

185. A VRC witness has testified that VRC initially believed that it should
consider both Step One and Step Two debt as part of its Step One solvency analysis That
changed, however, when Tribune revised VRC’s draft solvency opinion and instructed VRC to
consider only Step One debt for purposes of its May solvency opinions Despite expressing
internal reservations about Tribune’s defective approach, VRC complied with Tribune’s
instruction so as not to jeopardize the high engagement fee it had bargained for in connection
with a transaction that VRC viewed as risky.

(ii) VRC’s Step One Solvency Analysis
Ignored The Proper Def`inition of “Fair Market Value”

186. ln addition to indulging Tribune’s improper instruction to neglect
approximately $4 billion of transactional debt in its Step One analysis, VRC included several

other fundamental defects in its analysis that permitted it to opine in favor of solvency.

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187. VRC departed from the standard definition of “fair market value” - ii, what
a willing buyer and a willing seller would agree to in a fair exchange - and instead utilized an
idiosyncratic definition peculiar to the LBO Transaction. VRC agreed to opine on Tribune’s
solvency assuming that the “fair market” buyer would be structured to receive the same
favorable tax treatment as the ESOP utilized for the LBO Transaction _ that is, another ESOP.
VRC had never worked on another solvency opinion that contained such a modification to the
standard definition of “fair market value” so as to facilitate consideration of the anomalous
ESOP S-corporation tax savings Had the standard “fair market value” definition been used,
VRC would not have been able to deliver the solvency opinions that Tribune needed

188. Among other flaws or skewed assumptions including those related to its
comparable company analysis and terminal multiples, VRC also changed how it weighted the
discounted cash flow (“DCF”) valuation methodology in its overall analysis The DCF
valuation approach yielded a value for Tribune that was significantly lower than that obtained
through other valuation methods Several drafts of VRC’s Step 0ne solvency analysis weighted
the DCF method more heavily than the other valuation methodologies At the same time, VRC
initially gave relatively little weight to the “comparable transactions” method, which yielded a
much higher valuation figure. However, in its final Step One solvency analysis VRC reduced
the weight given to the low DCF valuation and increased the weight given to the high
comparable transactions value, thereby increasing Tribune’s overall valuation figure. This shift
in VRC’s methodological weighting also tipped the balance in favor of finding Tribune solvent
at Step One.

(iii) VRC’s Step Two Solvency Analysis Adopted
Management’s Unrealistic October 2007 Proiections

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189. Faced with the even more daunting task of delivering a solvency opinion in
connection with Step Two of the LBO Transaction - which Would saddle Tribune with billions
of dollars of additional debt in a deteriorating financial environment - VRC resorted to
employing even more dubious methods of analysis

190. As alleged above, Tribune management’s October Projections unreasonably
assumed that the 2.4% revenue growth rate forecast for the 2012 presidential election year
would be duplicated in each of the following five years VRC’s solvency analysis incorporated

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management s election year” assumption by extending the time period over which VRC
calculated the discounted present value of projected cash flows from five years (as in VRC’s
Step One solvency analysis) to ten years Tribune provided VRC with a specific, separate
representation letter, signed by Grenesko and dated December 20, 2007, which purported to
justify this change in methodology As a result o_f this change, VRC’s valuation at Step Two
was upwardly revised by approximately $613 million.

191. Moreover, VRC’s Step Two solvency analysis carried over many of the same
flaws and skewed assumptions from VRC’s Step One solvency analysis including VRC’s novel
and unjustified definition of “fair market value” and the improper equal weighting that VRC

assigned to its different valuation methodologies

(C) Tribune Misrepresented To VRC That An Outside
Financial Advisor Agreed With Certain Of Tribune’s Assumptions

192, VRC’s opinion letter committee established certain prerequisites that needed
to be satisfied before VRC could issue a solvency opinion in connection with Step Two of the
LBO Transaction. Among other requirements VRC needed to obtain an adequate

representation from Tribune that it would have the capability to refinance approximately $8

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billion of debt arising f`rom the LBO Transaction that would otherwise come due in 2014 and
2015. Accordingly, Tribune’s ability to refinance this massive debt was essential to VRC’s
solvency analysis and its willingness to issue a solvency opinion in connection with Step Two.

193. On or about December l, 2007, Mose Rucker, a VRC Managing Director,
placed a telephone call to Bigelow, then Tribune’s Treasurer, and advised that any
representation from Tribune as to the reasonableness of assuming that Tribune would have the
ability to refinance its debt should indicate that an outside financial advisor to Tribune agreed
with any such assumption

194. On or about December 2, 2007, certain of the D&O Defendants, including
Bigelow, Grenesko, and Kenney, placed a telephone call to Bryan Browning, a VRC Senior
Vice President and Professional Services Manager. During that conversation, Bigelow and/or
Grenesko stated that Morgan Stanley, financial advisor to the Special Committee, had agreed
that Tribune could refinance its debt in 2014 even in a “downside” scenario. Upon information
and belief, however, Morgan Stanley had never definitively represented that it agreed with
management’s refinancing assumptions

195 . After Step One of the LBO Transaction, the two outside financial advisors
that had previously been retained to advise Tribune withdrew from advising the Company with
respect to Step Two. Accordingly, neither of those two outside financial advisors evaluated the
reasonableness of VRC’s Step Two solvency opinion or any of the representations and
projections of Tribune’s management upon which VRC relied in connection therewith

196. Nonetheless, a Tribune representation letter to VRC, signed by Grenesko and

dated December 20, 2007, stated in part: “Based upon (i) management’s best understanding of

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the debt and loan capital markets and (ii) management’s recent discussions with Morgan
Stanley, management believes that it is reasonable and appropriate for VRC to assume that
Tribune . . . would be able to refinance.” VRC’s Step Two solvency opinion relied on that
representation letter, expressly citing management’s purported discussions with Morgan Stanley
regarding the Company’s ability to refinance its debt when it came due.

X. The Tribune Board And Special Committee Failed
To Satisfv Their Duties With Resnect To VRC’s Solvency Opinions

197. After Tribune management procured a series of fundamentally flawed
solvency opinions from an all too cooperative and uncritical VRC, the members of` the Tribune
Board and Special Committee had a duty to evaluate those solvency opinions critically. The
Director Defendants utterly failed to satisfy their responsibilities As noted above, the outside
financial advisors that had previously been retained to advise Tribune withdrew from advising
the Company with respect to Step Two of the LBO Transaction. Thus, the Director Defendants
took up the critical question of whether the consummation of Step Two would render Tribune
insolvent without formally retaining an outside advisor for the Board to evaluate management’s
projections or VRC’s work.

198. The facts and circumstances known or ascertainable by the Director
Defendants made it imperative that they carefully evaluate the Step Two solvency opinion
delivered by VRC. They knew, were reckless in not knowing, or reasonably should have known
that (i) Tribune’s financial performance had deteriorated appreciably after Step One and that
the closing of Step Two would subject Tribune to more than $4 billion in additional debt; (ii)
management’s February Proj ections had missed the mark only shortly after they were issued;

(iii) members of senior management were to receive significant additional compensation if Step

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Two closed and might be looking for continued employment under the auspices of the new
owners; (iv) VRC was relying on management’s projections as a critical underpinning of its
solvency opinion; (v) VRC had agreed to use a definition of “fair market value” that was
contrary to long-established principles of sound valuation and that directly affected VRC’s
solvency conclusions at Step Two; and (vi) market indicia were strongly suggesting that, in the
event Tribune was somehow not already insolvent, the additional Step Two debt would render it
insolvent All of these circumstances served, or should have served, as red flags to the Director
Defendants They completely failed to heed those red flags

199. On December 18, 2007, Tribune’s Special Committee, entrusted to monitor
the LBO Transaction, met to consider VRC’s Step Two solvency opinion for the first and only
time. Upon information and belief, that meeting lasted no more than fifteen minutes The
Special Committee failed even to approve or finalize any minutes from that meeting.

200. Although representatives of Morgan Stanley apparently participated in the
December 18, 2007 meeting of Tribune’s Special Committee, Morgan Stanley did not present a
comprehensive evaluation of VRC’s Step Two solvency opinion. Moreover, neither Morgan
Stanley nor any other financial advisor presented any evaluation of Tribune’s October
Projections the good faith and reasonableness of which were a foundation of VRC’s Step Two
solvency analysis

201. Later that day, and despite the inadequate consideration given by Tribune’s
Special Committee to evaluating VRC’s Step Two solvency opinion, the Tribune Board quickly

reconvened and decided that it could rely on that opinion.

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202. Subsequently, the Subsidiary Defendants, by written unanimous consents
dated as of December 20, 2007, authorized certain guarantees that were necessary for Step Two
to close, without holding even a single meeting to consider the execution of the guarantees or
the effect they would have on the solvency of the Subsidiary Guarantors

XI.

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206.

_ Notably, Morgan Stanley representatives were present at a

meeting of the Compa_ny’s Board of -Directors on the same day, October 17, 2007, _

207. Morgan Stanley representatives were also present at several other meetings of

the Company’s Board between October 17 and December 18, 2007, when they attended a

meeting of the Special Committee of the Board. _
_
208- _
_ By May 20075
Morgan Stanley had already'been paid the full $10 million due it under its engagement
agreement for work relating to the LBO. lt was owed no further payments for work it
performed on the LBO after that date, although its engagement letter did provide for a possible

discretionary fee. Obtaining the additional discretionary payment was the principal way for

Morgan Stanley to receive additional compensation for its work on the LBO.

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_ In December 2007, Morgan Stanley in fact aggressively sought a discretionary
fee from the Company, but the Company ultimately declined Morgan Stanley’s request

209. On December 12, 2007, Mr. Bigelow forwarded to Morgan Stanley an e-mail

containing certain follow-up questions from the lead banks financing the LBO. Those questions
included the following:

Reference is made to VRC's answer to Question 18 in the Response in Which

VRC indicates that it is relying, in pa_rt, on a representation from Tribune which

states that based upon recent discussions with Morgan Stanley, the Company

would be able to refinance debt in its downside forecasts without the need for

additional assets sales Did VRC meet with someone from Morgan Stanley and

does VRC know whether Morgan Stanley understands that Tribune is relying

upon its view?

210. Morgan Stanley thus had notice that the Company was relying on Morgan

Stanley in representing to VRC that the Company would be able to refinance the LBO Debt.
Morgan Stanley now takes the position that it never told the Company’s management that
Morgan Stanley believed, or concurred with any belief by management, that Tribune would be
able to refinance the LBO Debt. But Morgan Stanley did not tell the Board or the Special
Committee prior to the closing of Step Two that management’s or VRC’s reliance on Morgan
Stanley was misplaced lnstead, Morgan Stanley remained silent on this issue with the Board
and the Special Committee. Morgan Stanley had the same incentive not to upset an important
basis for VRC’s Step Two solvency opinion as it did with respect to _
-: disclosure could jeopardize the LBO and thus Morgan Stanley’s ability to obtain a

discretionary fee payment from the Company.

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XII. The LBO Transaction Closed
And Tribune Collapsed From Its Massive Debt Burden

211. After the Director Defendants gave their blessing to VRC’s Step Two
solvency opinion, the final step remaining for the consummation of the LBO Transaction was
the delivery of certificates representing that Tribune Was supposedly solvent On December 20,
2007, Defendants Bigelow and Grenesko delivered the required solvency certificates on behalf
of Tribune, thereby consummating the closing of the LBO Transaction.

212. As designed, the LBO Transaction cashed out Tribune’s Large Shareholders
at the expense of Tribune and its other stakeholders. Tribune’s total funded debt rose from
under $4 billion to nearly $13 billion. This staggering debt load brought the once venerable
Company to its knees in under one year.

213. Deterioration caused by the massive debt burden followed in rapid fashion
after the LBO Transaction closed in December 2007. On July 14, 2008, for example, the
Associated Press reported that the Los Angeles Times planned to cut 250 positions The report
explained that “[l]ast December, Tribune bought out its public shareholders in an $8.2 billion
deal orchestrated by real estate mogul Sam Zell. Now, he and the Tribune are struggling to
service that debt.” None of Tribune’s cost-cutting measures however, could forestall the
inevitable

214. On December 8, 2008 (the “Petition Date”), Tribune filed voluntary petitions
for relief under the Bankruptcy Code. As of the Petition Date, Tribune owed approximately $13
billion in total funded debt

XII. Morgan Stanlev’s Insider Trading.

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215. On December 19, 1994, Morgan Stanley Capital Services, lnc. (“MSCS”), an
affiliate of Morgan Stanley, and The Times Mirror Company, a predecessor to the Company,
entered into an interest rate swap in respect of a $100 million notional amount The swap was
memorialized in an ISDA Master Agreement, dated as of August 5, 1994, and a Confirmation to
such agreement, dated December 19, 1994 (collectively, the “Swap Agreement”).

216. The Swap Agreement obligated MSCS to make certain payments to Tribune
calculated using a fixed rate of interest in return f`or payments by Tribune to MSCS calculated
using a floating rate of interest If Tribune declared bankruptcy, that was an “Event of Default”
under the Swap Agreement that permitted MSCS to select an “Early Termination Date.” On the
Early 'l`ermination Date, the Swap Agreement provided for a calculation of the amount due from
MSCS to the Company in respect of the future fixed rate payments MSCS was obligated to
make to the Company under the Swap Agreement. ln certain circumstances MSCS was
permitted to reduce its final payment to the Company by amounts that the Company owed
MSCS or its affiliates

217. The Swap Agreement afforded Morgan Stanley and MSCS the opportunity, if
they believed there was a substantial risk that the Company would file for bankruptcy, to make
substantial financial gains by purchasing the Company’s publicly traded debt at a discount to its
face value. MSCS could then seek to set off the full face value of Tribune public debt - which it
had acquired at a deep discount _ against the amount it owed Tribune in the event of a
bankruptcy

218. On April ll and 15, 2008 Morgan Stanley purchased a total of$18,865,000

face value of Tribune 7.5% Debentures for $7,840,000 - less than 42% of face value. On April

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21, 2008, Morgan Stanley transferred these debentures to MSCS. At the time of these
purchases, Morgan Stanley was in possession of material non-public information relating to the
likelihood that the Company would have to file for bankruptcy, information that Morgan
Stanley obtained in its capacity as the Company’s and Special Committee’s financial advisor in
2007. Morgan Stanley also advised the Company on a transaction in mid-2008

219. On or about November 10, 2008, the Company engaged Morgan Stanley to
provide financial advisory services relating to a possible bankruptcy filing by the Company.
The Company provided Morgan Stanley, in its capacity as professional financial advisor, with
confidential financial information relating to the Company and its consideration of a bankruptcy
filing in the near term.

220. On November 20, 2008 Morgan Stanley purchased $5,000,000 in face
amount of Tribune 7.5% Debentures for 3601,041. Morgan Stanley transferred these debentures
to MSCS on the same day.

221. On November 26, 2008, Morgan Stanley purchased $5,000,000 in face
amount of Tribune 7.5% Debentures for $644,795 -- less than 13% of face value. On
approximately March 20, 2009 - after the commencement of Tribune’s chapter ll case -
Morgan Stanley transferred these debentures to MSCS.

222. At the times it purchased Tribune 7.5% Debentures on November 20 and 26,
2008, Morgan Stanley was in possession of material non-public information concerning the
Company’s active planning for a bankruptcy filing in the very near term, information that

Morgan Stanley obtained in its capacity as financial advisor to the Company.

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223. Because l\/lorgan Stanley had material confidential information from Tribune
on this issue, it could and did decide to buy the Debentures with confidence that it would profit
as a result

224. At the December l, 2008 meeting of Tribune’s Board of Directors the Board
terminated Morgan Stanley’s engagement as financial advisor to Tribune.

225. Tribune’s bankruptcy filing on December 8, 2008, was an Event of Default
under the Swap Agreement, and MSCS designated December 9, 2008 as the Early Termination
Date for the interest rate swap under the Swap Agreement.

226. By letter dated December 18, 2008, MSCS informed Tribune that it had set
off $38,365,000 in principal amount of Tribune 7.5% Debentures (this amount includes some
$9,500,000 in principal amount of debentures that Morgan Stanley acquired before it was a
financial advisor to the Company), plus accrued interest and expenses against the $50,433,470
MSCS had deterrnined, as the non-defaulting party under the Swap Agreement, was owing by
MSCS to‘Tribune. MSCS asserted that such setoff was permitted pursuant to the Bankruptcy
Code’s “safe harbors”

227. By letter dated March 20, 2009, MSCS advised that the correct amount
owing to Tribune under the Swap Agreement was $51,945,000 (the “Termination Amount”),
and that the prior figure was the result of a calculation error. MSCS again informed Tribune
that it had set off 838,365,000 in principal amount of Tribune 7.5% Debentures (plus accrued
interest and expenses) against the Termination Amount. By reason of its improper purchase of
Tribune 7.5% Debentures while in possession of material non-public information from the

Company, Morgan Stanley deprived the Company of nearly $29,000,000 (plus accrued interest

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and expenses) in payments that it would otherwise have received under the Swap Agreement,
and thereby damaged the Company in that amount

228. MSCS has filed a proof of claim in the Tribune’s chapter 11 case in the
principal amount of $38,365,000 (the “MSCS Claim”). Among other claims the MSCS Claim
asserts a protective claim of` not less than $41,074,528.00 in the event that MSCS's setoff is
successfully challenged

COUNT ONE
(Breach Of Fiduciarv Dutv Against The D&O Defendants)

229. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-228 as though fully set forth herein.

230. As directors and officers of Tribune, the D&O Defendants owed Tribune
fiduciary duties of good faith, care and loyalty. As Tribune was either rendered insolvent or
placed in the zone of insolvency as a result of the LBO Transaction, the D&O Defendants owed
fiduciary duties to all of` Tribune’s stakeholders including its creditors who were harmed due to
Tribune’s inability to pay them in full. Upon information and belief, most or all of the D&O
Defendants owned shares in Tribune prior to and after approval of the LBO Transaction.
Indeed, most of the D&O Defendants received cash proceeds of at least several hundred
thousand dollars from the sale of their stock in connection with the LBO Transaction, and many
of the them received several million dollars from their stock sales ln addition, the Officer
Defendants collectively received millions of dollars in special incentives for completing the
LBO Transaction above and beyond benefits received by other shareholders Due to thesedirect
financial benefits the D&O Defendants were interested in, or lacked independence with respect

to, the LBO Transaction.

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231. The LBO Transaction favored Tribune’s Board of Directors, officers and
Large Shareholders at the expense of Tribune and its other stakeholders Under the
circumstances the D&O Defendants acted in their own interests and/or in the interests of the
Large Shareholders and Zell Defendants in approving and/or facilitating the LBO Transaction
even though they knew or were reckless in not knowing that it would result in harm to Tribune.
At a minimum, the D&O Defendants were willfully blind to the foreseeable disastrous
consequences of the LBO Transaction, and acted grossly negligently and/or recklessly in
approving and/or facilitating a transaction that in short order would result in disaster for the
Company.

232. The D&O Defendants acting both individually and collectively, failed to
exercise the necessary care, and breached their respective duties of good faith, care and loyalty,
by, among other things:

(a) agreeing to, approving and/or facilitating the imprudent and highly
leveraged LBO Transaction that rendered Tribune insolvent, and
knowingly, recklessly, grossly negligently and/or willfully blindly
disregarding the foreseeable disastrous consequences of the LBO
Transaction;

(b) ' succumbing to financial incentives and catering to external influences
in facilitating and advocating for the LBO Transaction, which favored
interests other than those of the company they were obligated to

serve;

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(c) knowingly, recklessly, grossly negligently and/or willfully blindly
disregarding, and instructing VRC to disregard, the total amount of
debt that would be incurred by Tribune in connection with the LBO
Transaction and approving the LBO Transaction in conscious grossly
negligent and/or willfully blind disregard of their duties to take the
aggregate debt into consideration;

(d) knowingly, recklessly, grossly negligently and/or willfully blindly
failing to provide updated and reasonable financial projections to
VRC in pursuit of the requisite solvency opinions j

(e) knowingly, recklessly, grossly negligently and/or willfully blindly
misrepresenting to VRC that an outside financial advisor had agreed
with management’s unreasonable assumptions concerning the
prospective ability of Tribune to refinance its debt; and

(f) knowingly, recklessly, grossly negligently and/or willfully blindly
failing to ensure that reliance on VRC’s advice was reasonably
justified under the circumstances

233. The D&O Defendants are not entitled to the protection of the business
judgment rule for the breach of their duties The D&O Defendants failed to act in good faith
and instead acted in their own interests or in the interests of entities other than Tribune’s or in a
manner that cannot be attributed to a rational business purpose. Finally, in reaching the
decisions complained of herein, the D&O Defendants were grossly negligent and/or willfully

blind by, among other things failing to consider all material facts reasonably available and

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completely and willfully or recklessly ignoring their duties owed to Tribune and to all of
Tribune’s stakeholders including creditors

234. lndeed, in taking the actions described above with respect to the LBO
Transaction, at least some of the D&O Defendants abandoned Tribune’s interests alto gether.
Those D&O Defendants knowingly and intentionally acted in the sole pursuit of their personal
individual interests (such as receiving cash proceeds severance payments and other monetary
special incentives from the LBO Transaction) or in the interests of the Large Shareholders
and/or Zell Defendants They did not act in order to achieve any benefit, or accomplish any
legitimate corporate purpose, for Tribune, either short-term or long-term. To the contrary, they
engaged in actions that did not confer any benefit upon or serve any corporate purpose for
Tribune and that could never have conferred any such benefit or served any such purpose The
events that unfolded show that the actions they took were entirely adverse to Tribune’s interests
both short-term and long-tenn Notwithstanding the positions of trust that the D&O Defendants
occupied and the fiduciary duties they owed to Tribune, at least some acted in service of
interests wholly separate and distinct from those of the company they were obligated to serve.

235. By reason of the foregoing actions the D&O Defendants acting both
individually and collectively, engaged in self-dealing, did not act in good faith, and breached
their respective fiduciary duties

23 6. Tribune has been substantially damaged as a direct and proximate result of
the breaches of fiduciary duties by the D&O Defendants.

237. Accordingly, Plaintiff is entitled to judgment against the D&O Defendants

jointly and Severally in an amount to be determined at trial.

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COUNT TWO
(Breach Of Fiduciary Dutv Against Zell)

23 8. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-237 as though fully set forth herein.

23 9. As a director of Tribune, Zell owed Tribune fiduciary duties of good faith,
care and loyalty. As Tribune was either rendered insolvent or placed in the zone of insolvency
as a result of the LBO Transaction, Zell owed fiduciary duties to all of Tribune’s stakeholders
including its creditors who were harmed due to Tribune’s inability to pay them in full.

240. Zell proposed, negotiated, and facilitated the LBO Transaction. Zell
controlled EGl-TRB, which entered into the Agreement and Plan of Merger with Tribune on
April 1, 2007. As a result, Zell was interested in, or lacked independence with respect to, the
LBO Transaction.

241. Zell acted in his own interests and/or in the interests of entities other than
Tribune, in facilitating consummation of the LBO Transaction even though he knew or should
have known it would result in harm to Tribune. At a minimum, Zell was willfully blind to the
foreseeable disastrous consequences of the LBO Transaction, and acted grossly negligently
and/or recklessly in advocating for and facilitating consummation of a transaction that in short
order would result in disaster for the Company.

242. Zell, acting both individually and collectively with the D&O Defendants
failed to exercise the necessary care, and breached his duties of good faith, care and loyalty, by,
among other things:

(a) advocating for and facilitating consummation of the imprudent and

highly leveraged LBO Transaction that rendered Tribune insolvent,

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and knowingly, recklessly, grossly negligently and/or willfully blindly
disregarding the foreseeable disastrous consequences of the LBO
Transaction;

(b) advocating for and facilitating consummation of the LBO Transaction
even though it favored interests other than those of the company that
he was obligated to serve;

(c) knowingly, recklessly, grossly negligently and/or willfully blindly
failing to provide updated and reasonable financial projections to
VRC in pursuit of the requisite solvency opinions and

(d) knowingly, recklessly, grossly negligently and/or willfully blindly
failing to ensure that reliance on VRC’s advice was reasonably
justified under the circumstances

243. Zell is not entitled to the protection of the business judgment rule for the
breach of his duties Zell failed to act in good faith and instead acted in his own interests or in
the interests of entities other than Tribune, or in a manner that cannot be attributed to a rational
business purpose Finally, in taking the actions complained of herein, Zell was grossly
negligent and/or willfully blind by, among other things failing to consider all material facts
reasonably available and completely and willfully or recklessly ignoring his duties owed to '
Tribune and to all of Tribune’s stakeholders including creditors

244. lndeed, in taking the actions described above with respect to the LBO
Transaction, Zell abandoned Tribune’s interests altogether. Zell knowingly and intentionally

acted in the sole pursuit of his personal interests and/or in the interests of entities other than

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Tribune. Zell did not act in order to achieve any benefit, or accomplish any legitimate corporate
purpose, for Tribune, either short-term or long-term. To the contrary, Zell engaged in actions
that did not confer any benefit upon or serve any corporate ptupose for Tribune and that could
never have conferred any such benefit or served any such purpose, The events that unfolded
show that the actions Zell took were entirely adverse to Tribune’s interests both short-term and
long-term. Notwithstanding the high position of trust that Zell occupied and the fiduciary duties
he owed to Tribune, he acted in service of interests wholly separate and distinct from those of
the company he was obligated to serve.

245. By reason~of the foregoing actions Zell, acting both individually and
collectively with the D&O Defendants engaged in self-dealing, did not act in good faith, and
breached his fiduciary duties

246. Tribune has been substantially damaged as a direct and proximate result of
the breaches of fiduciary duties by Zell.

247. Accordingly, Plaintiff is entitled to judgment against Zell jointly and
severally in an amount to be determined at trial.

COUNT THREE
(Breach Oi` Fiduciarv Dutv Against The Subsidiary Defendants)

248. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-247 as though fully set forth herein.
249. 'l`he Subsidiary Defendants owed duties of good faith, loyalty and due care to

Tribune and/or the Subsidiary Guarantors

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250. The Subsidiary Defendants approved the subsidiary guarantees and liens
given by such corporations guaranteeing the obligations incurred in connection with the LBO
Transaction.

251. Upon information and belief, the Subsidiary Defendants did not conduct any
independent investigation on behalf of the Subsidiary Guarantors in connection with the
approval of the subsidiary guarantees

252. The Subsidiary Defendants, acting both individually and collectively,
breached their respective fiduciary duties, and those Subsidiary Defendants Who received
monetary special incentives in connection with consummation of the LBO Transaction also
engaged in self-dealing and did not act in good faith.

25 3. The Subsidiary Defendants are not entitled to the protection of the business
judgment rule for the breach of their duties. The Subsidiary Defendants failed to act in good
faith and instead acted in their own interests or in the interests of entities other than Tribune’s,
or in a manner that cannot be attributed to a rational business purpose. Finally, in reaching the
decisions complained of herein, the Subsidiary Defendants were grossly negligent and/or
willfully blind by, among other things, failing to consider all material facts reasonably available
and completely and willfully ignoring their duties owed to Tribune and to all of Tribune’s
stakeholders, including creditors

254. Tribune and the Subsidiary Guarantors have been substantially damaged as a
direct and proximate result of the breaches of fiduciary duties by the Subsidiary Defendants
Accordingly, Plaintiff is entitled to judgment against the Subsidiary Defendants jointly and

severally in an amount to be determined at trial.

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COUNT FOUR
(Aiding And Abetting Breach Of
Fiduciarv Dutv Against The Subsidiary Defendants)

255. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-254 as though fully set forth herein.

256. As directors and officers of Tribune, the D&O Defendants owed Tribune and
its stockholders fiduciary duties of good faith, care and loyalty. As Tribune was either rendered
insolvent or placed in the Zone of insolvency as a result of the LBO Transaction, the D&O
Defendants owed fiduciary duties to all of Tribune’s stakeholders, including its creditors, who
were harmed due to Tribune’s inability to pay them in full.

257. The D&O Defendants, acting both individually and collectively, failed to
exercise the necessary care, and breached their respective duties of good faith, care and loyalty
as set forth fially hcrein.

258. The Subsidiary Defendants knew that the D&O Defendants had the fiduciary
duties alleged herein.

259. The Subsidiary Defendants colluded in or aided and abetted the breaches of
fiduciary duties of the D&O Defendants, and were active and knowing participants in those
breaches of fiduciary duties by, among other things, approving the subsidiary guarantees and
liens given by such corporations guaranteeing the obligations incurred in connection with the

LBO Transaction, and failing to conduct any independent investigation on behalf of the

Subsidiary Guarantors in connection with the approval of the subsidiary guarantees

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260. Tribune and the Subsidiary Guarantors have been substantially damaged as a
direct and proximate result of the actions of the Subsidiary Defendants in aiding and abetting the
breaches of fiduciary duties set forth fully herein.

261. Accordingly, Plaintiff is entitled to judgment against the Subsidiary
Defendants jointly and severally in an amount to be determined at trial.

COUNT FIVE
(Breach Of Fid_uciarv Dt_ltv Agair_n‘»t The Large Shareholders)

262. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-261 as though fully set forth herein.

263. The Large Shareholders functioned as controlling shareholders with respect
to the LBO Transaction and effectively had the capacity to block or preclude the transaction if
they deemed it was not in their own interests The Large Shareholders collectively owned 33%
of Tribune’s stock and, by virtue of their substantial stock holdings, made clear to the Board that
it had to comply with their demands and advance their objectives lndeed, the Large
Shareholders threatened the Board with certain adverse consequences if the Board failed to
comport With their demands In addition, the Large Shareholders each had representatives on
Tribune’s Board, and through FitzSimons’ roles at both the Foundations and Tribune, the
Foundations had senior managerial presence at Tribune. Thus, for all practical purposes the
Large Shareholders had the power to veto the Board’s decision with respect to the LBO
Transaction or to ensure its successful implementation, and therefore were controlling
shareholders with respect to the transaction,

264. As controlling shareholders of Tribune, the Large Shareholders owed Tribune

fiduciary duties of good faith, care and loyalty. As Tribune was either rendered insolvent or

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placed in the Zone of insolvency as a result of the LBO Transaction, the Large Shareholders
owed fiduciary duties to all of Tribune’s stakeholders including its creditors who were harmed
due to Tribune’s inability to pay them in full.

265. The Large Shareholders acting both individually and collectively, failed to
exercise the necessary care, and breached their respective duties of good faith, care and loyalty,
by, among other things intentionally steering the D&O Defendants toward a corporate strategy
aimed at enhancing exclusively the interests of the Large Shareholders at the expense of Tribune
and its other stakeholders and by interposing themselves in the Board’s decision-making
process and exerting undue influence over the D&O Defendants in connection with the LBO
Transaction by, among other things threatening the Board if it failed to pursue their desired
course of action. As controlling shareholders of Tribune, the Large Shareholders were not
entitled to consider only their own interests in assessing the propriety of the LBO Transaction.
Rather, in deciding whether to participate in the LBO Transaction and thereby help ensure its
effectuation, the Large Shareholders were obligated to consider the interests of Tribune and all
its stakeholders By exclusively focusing on, pressing and pursuing their own interests and by
their other aforementioned acts and omissions the Large Shareholders breached their fiduciary
obligations

266. The Large Shareholders are not entitled to the protection of the business
judgment rule for the breach of their duties The Large Shareholders failed to act in good faith
and instead acted solely in their own interests Indeed, the Large Shareholders abandoned
Tribune’s interests alto gether, and took actions that were entirely adverse to Tribune’s interests

both short-term and long-term.

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267. By and through the LBO Transaction, the Large Shareholders received
substantial proceeds for their Tribune stock that were funded by debt that-rendered the Company
insolvent

268. Tribune has been substantially damaged as a direct and proximate result of
the breaches of fiduciary duties by the Large Shareholders

269. Accordingly, Plaintiff is entitled to judgment against the Large Shareholders
jointly and severally in an amount to be determined at trial.

COUNT SIX

(Aiding And Abetting Breach Of' Fiduciar'y Duty
Against The Chandler Trust Representatives And The Large Shareholders)

270. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-269 as though fully set forth herein.

271. As directors and officers of Tribune, the D&O Defendants owed Tribune and
its Stockholders fiduciary duties of good faith, care and loyalty. As Tribune was either rendered
insolvent or placed in the zone of insolvency as a result of the LBO Transaction, the D&O
Defendants owed fiduciary duties to all of Tribune’s stakeholders including its creditors who
were harmed due to Tribune’s inability to pay them in full.

272. The D&O Defendants acting both individually and collectively, failed to
exercise the necessary care, and breached their respective duties of good faith, care and loyalty
as set forth fially herein.

273. The Chandler Trust Representatives and the Large Shareholders knew that
the D&O Defendants had the fiduciary duties alleged herein. To the extent that the Large

Shareholders are determined not to be controlling shareholders with respect to the LBO

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Transaction, the Large Shareholders are nonetheless liable for aiding and abetting the D&O
Defendants’ fiduciary breaches as set forth herein.

274. The Chandler Trnst Representatives and the Large Shareholders colluded in
or aided and abetted the D&O Defendants’ breaches of fiduciary duties and were active and
knowing participants in those breaches of fiduciary duties by, among other things intentionally
steering the D&O Defendants toward a corporate strategy aimed at enhancing exclusively the
interests of the Large Shareholders and by interposing themselves in the Board’s decision-
making process and exertingundue influence over the D&O Defendants in connection with the
LBO Transaction by, among other things threatening the Board if it failed to pursue their
desired course of action.

275. By and through the LBO Transaction, the Chandler Trust Representatives and
the Large Shareholders received substantial proceeds for their Tribune stock that were funded
by debt that rendered the Company insolvent

276. Tribune has been substantially damaged as a direct and proximate result of
the actions of the Chandler Trust Representatives and the Large Shareholders in aiding and
abetting the breaches of fiduciary duties set forth fully herein.

277. Accordingly, Plaintiff is entitled to judgment against the Chandler 'l`rust
Representatives and the Large Shareholders jointly and severally in an amount to be determined

at trial.

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COUNT SEVEN
(Aiding And Abetting Breach Of Fiduciary Duty
Against The Zell Defendants)

278. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs l-277 as though fully set forth 'herein.

279. As officers and directors of Tribune, the D&O Defendants owed Tribune and
its stockholders fiduciary duties of good faith, care and loyalty. As Tribune Was either rendered
insolvent or placed in the zone of insolvency as a result of the LBO Transaction, the D&O
Defendants owed fiduciary duties to all of Tribune’s stakeholders including its creditors who
were harmed due to Tribune’s inability to pay them in full.

280. The D&O Defendants acting both individually and collectively, failed to
exercise the necessary care, and breached their respective duties of good faith, care and loyalty
as set forth fully herein.

281. The Zell Defendants knew that the ]_J&O Defendants had the fiduciary duties
alleged herein.

282. The Zell Defendants colluded in or aided and abetted the breaches of
fiduciary duties of the D&O Defendants and were active and knowing participants in those
breaches of fiduciary duties by, among other things proposing and orchestrating the imprudent
and inevitably ruinous LBO Transaction, and exerting undue influence over the decision-
making of the D&O Defendants by enticing and inducing them to enter into the LBO

Transaction by agreeing to pay them substantial financial incentives

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283. Tribune has been substantially damaged as a direct and proximate result of
the actions of the Zell Defendants in aiding and abetting the breaches of fiduciary duties set
forth fillly herein.

284. Accordingly, Plaintiff is entitled to judgment against the Zell Defendants in
an amount to be determined at trial. n

COUNT EIGHT
(Aiding And Abetting Breach Of Fiduciarv Dutv Against VRC)

285 . Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-284 as though fully set forth herein.

286. As officers and directors of Tribune, the D&O Defendants owed Tribune and
its stockholders fiduciary duties of good faith, care and loyalty. As Tribune was either rendered
insolvent or placed in the zone of insolvency as a result of the LBO Transaction, the D&O
Defendants owed fiduciary duties to all of Tribune’s stakeholders including its creditors who
were hanned due to Tribune’s inability to pay them in full.

287. The D&O Defendants acting both individually and collectively, failed to
exercise the necessary care, and breached their respective duties of good faith, care and loyalty
as set forth fully herein.

288. VRC knew that the D&O Defendants had the fiduciary duties alleged herein.

289. VRC colluded in or aided and abetted the D&O Defendants’ breaches of
fiduciary duties and was an active and knowing participant in those breaches of fiduciary duties
by, among other things failing to use reasonable professional judgment in reaching its solvency
determinations failing to use appropriate valuation and financial practices in its solvency

determinations ignoring or failing to give effect to information known by or made known or

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available to VRC that should have been considered under reasonable valuation and financial
practices and being induced to provide solvency opinions that cannot be justified in light of
applicable professional standards

290. Tribune has been substantially damaged as a direct and proximate result of
VRC’s aiding and abetting the breaches of fiduciary duties set forth fully herein.

291. Accordingly, Plaintiff is entitled to judgment against VRC in an amount to be
determined at trial.

COUNT NINE
(Professionai Malpractice Against VRC)

292. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-291 as though fiilly set forth herein.

293. VRC was retained by Tribune to serve as one of Tribune’s professional
financial advisors in connection with the LBO Transaction and to, among other things provide a
series of solvency opinions with respect thereto.

294. As Tribune’s professional financial advisor, VRC had a duty to use the same
degree of knowledge, skill, and ability as would an ordinarily carefitl professional in similar
circumstances

295. VRC deviated from the standard of care expected of a professional financial
advisor or solvency opinion provider under these circumstances and acted in bad faith, engaged
in willful misconduct, and/or was grossly negligent, by, among other things failing to use
reasonable professional judgment in reaching its solvency determinations failing to use
appropriate valuation and financial practices in its solvency determinations ignoring or failing

to give effect to information known by or made known or available to VRC that should have

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been considered under reasonable valuation and financial practices and being induced to
provide solvency opinions that cannot be justified in light of applicable professional standards

296. Tribune has been substantially damaged as a direct and proximate result of
VRC’s professional malpractice, as set forth lilliy herein.

297. Accordingly, Plaintiff is entitled to judgment against VRC in an amount to be
determined at trial.

COUNT TEN
(Aiding And Abetting Breach OfFiduciary Duty
Mst GreatBanc and Duff & Phelps)

298. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-297 as though fully set forth herein.

299. As officers and directors of Tribune, the D&O Defendants owed Tribune
fiduciary duties of good faith, care and loyalty. As Tribune was either rendered insolvent or
placed in the zone of insolvency as a result of the LBO Transaction, the D&O Defendants owed
fiduciary duties to all of Tribune’s stakeholders including its creditors who were harmed due to
Tribune’s inability to pay them in full.

300. The D&O Defendants acting both individually and collectively, failed to
exercise the necessary care, and breached their respective duties of good faith, care and loyalty
as set forth fully herein.

30l. GreatBanc and Duff & Phelps knew that the D&O Defendants had the
fiduciary duties alleged herein

302. GreatBanc and Duff & Phelps colluded in or aided and abetted the D&O

Defendants’ breaches of fiduciary duties and were active and knowing participants in those

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breaches of fiduciary duties by, among other things knowingly using inappropriate valuation
practices in their solvency, financing and fairness determinations to render and rely upon
opinions that could not have been rendered using reasonable and appropriate techniques
ignoring or failing to give effect to information known by or made known or available to
GreatBanc and Duff & Phelps that should have been considered under reasonable valuation and
financial practices and being induced to proceed with the LBO Transaction in the face of the
aforementioned breaches

303. Tribune has been substantially damaged as a direct and proximate result of
GreatBanc’s and Duff & Phelps’ aiding and abetting the breaches of fiduciary duties set forth
fully herein.

304. Accordingly, Plaintiff is entitled to judgment against GreatBanc and Duff &
Phelps in an amount to be determined at trial.

COUNT ELEVEN

(Violations Of Delaware General Corporation Law
Sections 160 And/Or 173 Again_st The Director Defendants And Zell)

305. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-304 as though fully set forth herein.

306. Section l60(a)(l) of the Delaware General Corporation Law (the “DGCL”)
provides in relevant part, that: “[N]o corporation shall; (l) [p]urchase or redeem its own shares
of capital stock for cash or other property when the capital of` the corporation is impaired or
when such purchase or redemption would cause any impairment of the capital of the

corporation[.]”

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307. Section 173 of the DGCL provides that “[n]o corporation shall pay dividends
except in accordance with this chapter.”

308. Pursuant to Section 174 of the DGCL, the directors of a corporation are
jointly and severally liable for “willliil or negligent violation of § 160 or § 173.”

309. Tribune provided cash and/or property to its shareholders as a result of the
LBO Transaction. The payments made by Tribune in connection with the LBO Transaction
were, in substance, unlawful dividends and/or stock purchases in violation of sections 160
and/or 173 of the DGCL. The Director Defendants and Zell are jointly and severally liable for
the amount of such dividends and/ or stock purchases due to their willful or negligent approval
and/or facilitation of the transfer of the payments while Tribune lacked a sufficient surplus or
net profits or was otherwise insolvent, in violation of Delaware"s General Corporation Law,
including without limitation sections 160, 173, and 174.

310. Tribune has been substantially damaged as a direct and proximate result of
the Director Defendants’ and Zell’s violations of DGCL sections 160, 173 and 174.

311. Accordingly, Plaintiff is entitled to judgment against the Director Defendants
and Zell in an amount to be determined at trial.

COUNT TWELVE
(Unjust Enrichment Against The D&O Defendants

The Subsidiary Defendants The Large Shareholders
The Zell Defendants The Tower Defenda_l_lt_s. And VRC)

312. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-311 as though fully set forth herein.
313. By their wrongful acts and omissions and through the wrongful receipt of

proceeds from the LBO Transaction, the defendants have unjustly retained benefits that belong

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to Tribune, and defendants’ retention of those benefits violates fundamental principles of
justice, equity and good conscience

314. Defendants are therefore liable to Tribune for unjust enrichment

315. Plaintiff seeks restitution from the defendants and an order of this Court
disgorging all payments profits fees benefits incentives and other compensation obtained by
the defendants as a result of their wrongful conduct and breaches of fiduciary duties

316. By virtue of the foregoing, the defendants are liable to reimburse Tribune’s
estates the amount of the payments profits fees benefits incentives and other compensation
they received in connection with the LBO Transaction.

COUNT THIRTEEN
(Intentional Fraudulent Transfer Against The D&O Defendants

The Subsidiary Defendants The Large Shareholders Zell,
EGI-TRB, The Shareholder Defendants And The Shareholder Class)

317. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-316 as though fully set forth herein.
318. The Shareholder Transfers were made within two years of the Petition Date.
319. Tribune, by and through its officers and directors acting individually and
collectively, made the Shareholder Transfers with the actual intent to hinder, delay, and defraud
Tribune’s creditors which intent is demonstrated by, among other things the D&O
Defendants’:
(a) agreeing to, approving and/or facilitating the imprudent and highly
leveraged LBO Transaction that rendered Tribune insolvent, and
knowingly disregarding the foreseeable disastrous consequences of

the LBO Transaction;

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succumbing to financial incentives and catering to external influences
in facilitating and advocating for the LBO Transaction, which favored
interests other than those of the company they were obligated to
serve',

willfully disregarding, and instructing VRC to disregard, the total
arnoth of debt that would be incurred by Tribune in connection with
the LBO Transaction and approving the LBO Transaction in
conscious disregard of their duties to take the aggregate debt into
consideration;

knowingly failing to provide updated and reasonable financial
projections to VRC in pursuit of the requisite solvency opinions
knowingly misrepresenting to VRC that an outside financial advisor
had agreed with management’s unreasonable assumptions concerning
the prospective ability of Tribune to refinance its debt;

knowingly failing to ensure that reliance on VRC’s advice was
reasonably justified under the circumstances and

failing to exercise due care in adequately informing themselves before
approving and/or facilitating the LBO Transaction and acting with
inadequate or erroneous information such that their decisions were

unreasonable and reckless

320. Accordingly, the Shareholder Transfers should be avoided and recovered

pursuant to Bankruptcy Code sections 544(b), 548(a)(1)(A) & 550(a).

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COUNT FOURTEEN
(Constructive And/Or Intentional Fraudulent Transfer
Against The D&O Defendants And The Subsidiary Defendantsl

321. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-320 as though fully set forth herein.

322. The D&O Transfers were made within two years of the Petition Date.

323. Tribune received less than reasonably equivalent value in exchange for the
D&O Transfers

324. At the time of the D&O Transfers Tribune (i) was insolvent or became
insolvent as a result of the D&O Transfers (ii) was engaged in business or a transaction, or was
about to engage in business or a transaction, for which Tribune was left with unreasonably small
capital; and/or (iii) intended to incur, or believed that it would incur, debts that would be_ beyond
its ability to pay as such debts matured

325. Tribune, by and through its officers and directors acting individually and
collectively, made the D&O Transfers with the actual intent to hinder, delay, and defraud
Tribune’s creditors which intent is demonstrated by, among other things the D&O
Defendants’:

(a) agreeing to, approving and/or facilitating the imprudent and highly
leveraged LBO Transaction that rendered Tribune insolvent, and
knowingly disregarding the foreseeable disastrous consequences of
the LBO Transaction;

(b) succumbing to financial incentives and catering to external influences

in facilitating and advocating for the LBO Transaction, which favored

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interests other than those of the company they were obligated to
serve;

willfully disregarding, and instructing VRC to disregard, the total
amount of debt that would be incurred by Tribune in connection with
the LBO Transaction and approving the LBO Transaction in
conscious disregard of their duties to take the aggregate debt into
consideration;

knowingly failing to provide updated and reasonable financial
projections to VRC in pursuit of the requisite solvency opinions
knowingly misrepresenting to VRC that an outside financial advisor
had agreed with management’s unreasonable assumptions concerning
the prospective ability of Tribune to refinance its debt‘,

knowingly failing to ensure that reliance on VRC’s advice was
reasonably justified under the circumstances and

failing to exercise due care in adequately informing themselves before
approving and/or facilitating the LBO Transaction and acting with
inadequate or erroneous information such that their decisions were

unreasonable and reckless

326. At all times relevant hereto, the D&O Defendants and the Subsidiary

Defendants knew, were reckless in not knowing, or reasonably should have known that the

D&O Transfers were fraudulent

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327. Accordingly, the D&O Transfers should be avoided and recovered pursuant
to Bankruptcy Code sections 544(b), 548(a)(l)(A)-(B) & 550(a).

COUNT FIFTEEN
(Preference Against The D&O Defen@nts And The Subsidiary Defendants)

328. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-327 as though fully set forth herein.

329. The D&O Defendants and Subsidiary Defendants were insiders of Tribune at
the time of` the D&O Transfers

330. The D&O Transfers were made within one year of the Petition Date.

331. The D&O Transfers were made for the benefit of the D&O Defendants and
Subsidiary Defendants for or on account of antecedent debts and were made while Tribune was
insolvent

332. The D&O Transfers enabled the D&O Defendants and Subsidiary Defendants
to receive more than they would receive if these cases were under chapter 7 cf the Bankruptcy
Code, the D&O Transfers had not been made, and they received payment of such debts to the
extent provided by the provisions of the Bankruptcy Code.

333. The D&O Transfers should be avoided and recovered pursuant to Bankruptcy
Code sections 547(b) & 550(a).

COUNT SIXTEEN
(Constructive And/Or Intentional Fraudulent Transfer Against VRC)

334. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-333 as though fully set forth herein.

335. The VRC Transfers were made within two ' ears of the Petition Date.
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33 6. Tribune received less than reasonably equivalent value in exchange for the
VRC Transfers

337. At the time of the VRC Transfers Tribune (i) was insolvent or became
insolvent as a result of the VRC Transfers (ii) was engaged in business or a transaction, or was
about to engage in business or a transaction, for which Tribune was left with unreasonably small
capital; and/or (iii) intended to incur, or believed that it would incur, debts that would be beyond
its ability to pay as such debts matured

338. Tribune, by and through its officers and directors acting individually and
collectively, made the VRC Transfers with the actual intent to hinder, delay, and defraud
Tribune’s creditors which intent is demonstrated by, among other things the D&O
Defendants’:

(a) agreeing to, approving and/or facilitating the imprudent and highly
leveraged LBO Transaction that rendered Tribune insolvent, and
knowingly disregarding the foreseeable disastrous consequences of
the LBO Transaction;

(b) succumbing to financial incentives and catering to external influences
in facilitating and advocating for the LBO Transaction, which favored
interests other than those of the company they were obligated to
serve;

(c) willfully disregarding, and instructing VRC to disregard, the total
amount of debt that would be incurred by Tribune in connection with

the LBO Transaction and approving the LBO Transaction in

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conscious disregard of their duties to take the aggregate debt into
consideration;

knowingly failing to provide updated and reasonable financial
projections to VRC in pursuit of the requisite solvency opinions
knowingly misrepresenting to VRC that an outside financial advisor
had agreed with management’s unreasonable assumptions concerning
the prospective ability of Tribune to refinance its debt;

knowingly failing to ensure that reliance on VRC’s advice was
reasonably justified under the circumstances and

failing to exercise due care in adequately informing themselves before
approving and/or facilitating the LBO Transaction and acting with
inadequate or erroneous information such that their decisions were

unreasonable and reckless

At all times relevant hereto, VRC knew, was reckless in not knowing, or

reasonably should have known that the VRC Transfers were fraudulent

340.

Accordingly, the VRC Transfers should be avoided and recovered pursuant to

Bankruptcy Code sections 544(b), 548(a)(1)(A)-(B) & 550(a).

COUNT SEVENTEEN

(Recharacterization Of The Exchangeable Note As Equitv

341.

Pursuant To 11 U.S.C. 8 105)

Plaintiff repeats and realleges each and every allegation set forth in

paragraphs 1-340 as though fully set forth herein.

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342. By contributing $200 million to Tribune and acquiring the Exchangeable
Note, EGl-TR_B attempted to elevate its status from that of a shareholder to a creditor.
EGI-TRB, however, was not a true creditor nor was the Exchangeable Note a true debt
instrument

343. EGl-TRB was a holder of both the Exchangeable Note and 1,470,588 shares
of Tribune stock,

344. The Exchangeable Note Was unsecured and deeply subordinated to the right
of payment to all “Senior Obligations,” which term was defined therein as “all obligations
indebtedness and other liabilities of [Tribune] other [than] any such obligations indebtedness or
liabilities that by its express terms ranks pari passu or junior to ['l`ribune’s] obligations under
this Note, in each case, whether incurred on or prior to the date hereof or hereafter incurred.”
'l`hus the Exchangeable Note was subordinate to all of the debt incurred by Tribune in
connection with the LBO Transaction.

345. Tribune had the option to exchange any portion of the outstanding principal
amount owed on the Exchangeable Note for shares of rl`ribune stock at any time. Moreover, if
Step Two of the LBO Transaction failed to close, the outstanding principal amount owed on the
Exchangeable Note would be automatically exchanged for shares of Tribune stock without any
further action by Tribune or EGl-TRB.

346. Based on the real nature of the Exchangeable Note, the Exchangeable Note

should be recharacterized as equity pursuant to 11 U.S.C. § 105.

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COUNT EIGHTEEN
(Constructive And/Or Intentional Fraudulent Transfer Against Zell and EGI-TRB)

347. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs l-346 as though fully set forth herein.

348. The EGl-TRB Transfers were made within two years of the Petition Date.

349. Tribune received less than reasonably equivalent value in exchange for the
EGl-TRB Transfers

35 0. At the time of the EGl-TRB Transfers Tribune (i) was insolvent or became
insolvent as a result of the EGl-TRB Transfers (ii) was engaged in business or a transaction, or
was about to engage in business or a transaction, for which Tribune was left with unreasonably
small capital; and/or (iii) intended to incur, or believed that it would incur, debts that would be
beyond its ability to pay as such debts matured

351. Tribune, by and through its officers and directors acting individually and
collectively, made the EGl-TRB Transfers with the actual intent to hinder, delay, and defraud
Tribune’s creditors which intent is demonstrated by, among other things the D&O
Defendants’:

(a) agreeing to, approving and/or facilitating the imprudent and highly
leveraged LBO Transaction that rendered Tribune insolvent, and
knowingly disregarding the foreseeable disastrous consequences of
the LBO Transaction;

(b) succumbing to financial incentives and catering to external influences

in facilitating and advocating for the LBO Transaction, which favored

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interests other than those of the company they were obligated to
serve;

willfully disregarding, and instructing VRC to disregard, the total
amount of debt that would be incurred by Tribune in connection with
the LBO Transaction and approving the LBO Transaction in
conscious disregard of their duties to take the aggregate debt into
consideration;

knowingly failing to provide updated and reasonable financial
projections to VRC in pursuit of the requisite solvency opinions
knowingly misrepresenting to VRC that an outside financial advisor
had agreed with management’s unreasonable assumptions concerning
the prospective ability of Tribune to refinance its debt;

knowingly failing to ensure that reliance on VRC’s advice was
reasonably justified under the circumstances and

failing to exercise due care in adequately informing themselves before
approving and/or facilitating the LBO Transaction and acting with
inadequate or erroneous information such that their decisions were

unreasonable and reckless

352. At all relevant times there existed a unity of interest between Zell and EGI-

TRB such that any individuality or separateness between Zell and EGI-TRB ceased, and EGl-

TRB was Zell’s alter ego.

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353. At all times relevant hereto, Zell and EGl-TRB knew, was reckless in not
knowing, or reasonably should have known that the EGl-TR_B Transfers were fraudulent

354. Accordingly, the EGI-TRB Transfers should be avoided and recovered
pursuant to Bankruptcy Code sections 544(b), 548(a)(1)(A)-(B) & 550(a).

COUNT NINETEEN
(Preference Against Zell And EGI-TRB)

35 5. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1~3 54 as though fully set forth herein.

356. EGl-TRB is an alter ego of Zell, who was an insider of Tribune at the time
of the Exchangeable Note Transfer and EGl-TllB Fee Payments

35 7. The Exchangeable Note Transfer and EGI-TRB Fee Payments were made
within one year of the Petition Date.

358. The Exchangeable Note Transfer and EGI~TRB Fee Payments were made
for the benefit of Zell and/or EGl-TRB, for or on account of antecedent debt and made while
Tribune was insolvent

359. The Exchangeable Note Transfer and EGI-TRB Fee Payments enabled Zell
and/or EGl-TRB to receive more than they would receive if these cases were under chapter 7
of the Bankruptcy Code, the payment had not been made and they received payment of such
debt to the extent provided by the provisions of the Bankruptcy Code.

360. Accordingly, the Exchangeable Note Transfer and EGl-TRB Fee Payments

should be avoided and recovered pursuant to Bankruptcy Code sections 547(b) & 550(a).

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COUNT TWENTY
(Mandatory Subordination Of Certain D&O
Creditor Claims And Subsidiary Creditor Claims)
361. Plaintiff repeats and realleges each and every allegation set forth in

paragraphs 1-360 as though fully set forth herein.

362. The Bankruptcy Code requires the subordination of certain types of claims

363. Section 510(b) of the Bankruptcy Code specifically provides that:
For the purpose of distribution under this title, a claim arising
from rescission of a purchase or sale of a security of the debtor
or of an affiliate of the debtor, for damages arising from the
purchase or sale of such a security, or for reimbursement or
contribution allowed under section 502 on account of such a
claim, shall be subordinated to all claims or interests that are
senior to or equal the claim or interest represented by such
security, except that if such security is common stock, such
claim has the same priority as common stock,

364. The D&O Creditor Claims and Subsidiary Creditor Claims that relate directly
to the LBO Transaction arise “from rescission of a purchase or sale of a security of the debtor or
of an affiliate of the debtor, for damages arising from the purchase or sale of such a security, or
for reimbursement or contribution allowed under section 502 on account of such a claim” and
should be subordinated under section 510(b) of the Bankruptcy Code.

365 . Accordingly, all D&O Qreditor Claims and Subsidiary Creditor Claims (other

than those that are unrelated to the LBO Transaction) are subject to mandatory subordination

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COUNT TWENTY-ONE
(Equitable Subordination And Disallowance Of The D&O Creditor
Claims Subsidiary Creditor Claims Zell Creditor Claims
EGI-TRB Creditor Claims Anc_l Tower Creditor Claims)

366. Plaintiff repeats and realleges each and every allegation set forth in
paragraphs 1-365 as though fully set forth herein.

367. 'l`he D&O Defendants Subsidiary Defendants and Zell Defendants engaged
in a pattern of misconduct to enrich themselves at the expense of the Debtors and their estates
and stakeholders including creditors by causing the Debtors to enter into the LBO Transaction.

368. The misconduct of the D&O Defendants Subsidiary Defendants and Zell
Defendants described herein was inequitable and resulted in injury to the Debtors’ stakeholders
including creditors

369. Any claims arising from the Subordinated Note, including principal and
interest and all other obligations and liabilities of Tribune to EGl-TRB or the Tower
Defendants, are contractually subordinate and junior to all obligations indebtedness and other
liabilities of Tribune with certain inapplicable exceptions To the extent that any such claims
are not already fully contractually subordinated, however, Plaintiff requests the equitable
subordination of such claims

370. Under the principles of equitable subordination, each Tower Creditor Claim,
if it had not been assigned to the Tower Defendants and instead had been asserted by, on behalf
of, or for the benefit of EGl-TRB, would have been subject to subordination pursuant to section
510(c) of the Bankruptcy Code.

371. Any Tower Creditor Claim should be subordinated and disallowed to the

same extent as if EGl-TRB had continued to hold such claim.

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372. Equitable subordination and disallowance of the D&O Creditor Claims
Subsidiary Creditor Claims Zell Creditor Claims EGI-TRB Creditor Claims and Tower
Creditor Claims is consistent with the provisions and purposes of the Bankruptcy Code.

373. Accordingly, the D&O Creditor Claims Subsidiary Creditor Claims Zell
Creditor Claims EGI-TRB Creditor Claims and Tower Creditor Claims are subject to equitable

subordination and/or disallowance

COUNT TWENTY-TWO
(Constructive Fraud Against Merrill, CGMI, And Morgan Stanley
'I`o Avoid And Recover Payment Of Financial Advisory Fees
(11 U.S.C. §§ 544(1)). 548(A)(1)(B) And 550(A))

374. Plaintiff incorporates by reference paragraphs 1-373 of this Complaint as if

set forth again in full.

375. By October 2006, the Company engaged Merrill and CGMI to advise it in

connection with a potential financial transaction,

376. By October 2006, the Company engaged Morgan Stanley to advise the

Special lCommittee to the Tribune Board in connection With a potential financial transaction,

377. Pursuant to the Company’s engagement of Merrill, CGMI, and Morgan
Stanley, the Debtors transferred or caused to be transferred over 830 million in advisory fees in
connection with the LBO Financing to Merrill, CGMI, and Morgan Stanley (the “Advisory
Fees”).

378. The Debtors did not receive reasonably equivalent value in exchange for

payment of the Advisory Fees.

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379. At the time of payment of the Advisory Fees taking into consideration the
LBO as a whole, the Company’s obligations under the Merger Agreement and otherwise to
complete the LBO, reasonable projections of the performance of the Company’s businesses and
the fair value of its assets and liabilities the Debtors were insolvent within the meaning of ll
U.S.C. § 101(32)(A).

380. The Debtors were left with unreasonably small capital to operate its business
as a result of and following the closing of the Step One Financing.

381. At the time of the closing of the Step One Financing, the Debtors intended to
incur or believed they would incur debts beyond the Debtors’ ability to pay as such debts
matured.

382. Accordingly, the Advisory Fees should be avoided and recovered pursuant to

Bankruptcy Code sections 547(b) & 550(a) for the benefit of the Non-Bank Claims

COUNT TWENTY-THREE
(Professional Malpractice AgBist Morgan Stanlev)

383. Plaintiff incorporates by reference paragraphs 1-3 82 of this Complaint as if

set forth again in full.

384- Morgan Stanley _
_ Continu€d to provide advice 110 the Special

Committee in connection with Step Two.
385. ln providing professional financial advice to the Company and the Special
Committee, Morgan Stanley had a duty to use the same degree of knowledge, skill, and ability

as would an ordinarily prudent professional in similar circumstances

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386. Morgan Stanley deviated from the standard of care expected of a professional
financial advisor under these circumstances by, among other things _
_ and rarng to inform

the Company or the Special Committee of its position on the Company’s ability to refinance the
LBO Debt
387. Accordingly, Plaintiff is entitled to judgment against Morgan Stanley for

damages in an amount to be determined at trial.

COUNT TWENTY-FOUR
(Aiding And Abetting Breach Of Fiduciary Duty

Against Morgan Stanley)

3 88. Plaintiff incorporates by reference paragraphs 1-3 87 of this Complaint as if
set forth again in hill.

389. The officers of Tribune, including Messrs. Grenesko and Bigelow, owed
Tribune and its stockholders a fiduciary duty of good faith, care and loyalty.

390. The Company’s management including Messrs Grenesko and Bigelow,
acting both individually and collectively, failed to exercise the necessary care, and breached
their respective duties of good faith, care and loyalty by, among other things (a) making
unjustifiable assumptions for the Company’s October 2007 financial projections and instructing
VRC to use such unreliable projections which VRC did uncritically; (b) instructing VRC to
make unjustifiable and unreasonable assumptions in connection with its Step Two solvency
opinion, which VRC agreed to do; (c) representing to VRC that Morgan Stanley agreed with the

Company’s assumptions concerning refinancing of the LBO when, on information and belief,

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Morgan Stanley had not so agreed; (d) representing to VRC that the Company would be solvent
after giving effect to Step Two without a reasonable basis for such representation; and (e) failing
to advise the Board that they had represented to VRC that Morgan Stanley agreed with the
Company’s assumptions concerning refinancing of the LBO Debt when, on information and
belief, Morgan Stanley had not agreed.

391. Morgan Stanley knew that the Company’s officers had the fiduciary duties
alleged herein.

392. Morgan Stanley, as professional financial adviser to the Company and
Special Committee, had an obligation to advise them of facts relevant to the scope of its
engagement _
-. Morgan Stanley aided and abetted the breaches of fiduciary duties by Company
management, including Messrs Grenesko and Bigelow, and was an active and knowing

participant in those breaches of fiduciary duties by, among other things failing to disclose to the

Board or the Special Committee <a) _
_; (b) that the representations by Messrs. Grenesko and/or Bigelow to VRC that

Morgan Stanley agreed with the Company’s assumptions concerning refinancing of the LBO

Debt Were incorrect and a _
393. The Company has been substantially damaged as a direct and proximate

result of Morgan Stanley’s aiding and abetting the breaches of fiduciary duties set forth herein.

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394. Accordingly, is entitled to recover damages from Morgan Stanley in an

amount to be determined at trial.

COUNT TWENTY-FIVE
(Insider Trading Against Morgan Stanley
(15 U.S.C. § 78i(b)_and Rt_lle 10b-5 (17 C.F.R. 8 240.10b-5))

395. Plaintiff incorporates by reference paragraphs 8-11, 73-74, 101-102, 133,
135, 194-196, 200-210, and 215-228, and 374-394 of this Complaint as if set forth again in full.

396. Morgan Stanley was engaged by the Company to advise the Special
Committee in 2006-07, and again by the Company in 2008, as a financial advisor. ln that
capacity, Morgan Stanley received highly confidential financial information concerning the
Company, including internal financial projections

397. ln its role as financial advisor to the Company and Special Committee in
2007, and then as an advisor to the Company on bankruptcy issues in 2008, Morgan Stanley
occupied a special position of trust and confidence in relation to the Company and in the
conduct of the Company’s business Accordingly, Morgan Stanley was a “temporary insider”
that had an express or implied duty to maintain the confidentiality of non-public information the
Company provided to it solely for corporate purposes and a duty not to use such information for

its own financial benefit
399. The Company had a reasonable expectation that Morgan Stanley would

maintain the confidentiality of such non-public information, an relied on Morgan Stanley not

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to misuse non-public information of the Company to the Company’s detriment or Morgan
Stanley’s benefit

400. Morgan Stanley breached its duty to the Company and engaged in insider
trading, as detailed above, by knowingly or recklessly using material non-public information
concerning the likelihood that Tribune would file for bankruptcy in deciding to purchase
Tribune 7.5% Debentures in April and November 2008. When it made these purchases Morgan
Stanley knew that, in the event of a Company bankruptcy, it would attempt to set off the face
amount of the debentures against MSCS’s obligations under the Swap Agreement and stood to
make enormous profits as a result _ more than seven times its investment with respect to the
debentures purchased in November

401. The Debentures were a “security” within the meaning of 15 U.S.C.

§ 780(a)(10).

402. To execute its manipulative and deceptive insider trading, Morgan Stanley
used instrumentalities of interstate commerce, or of the mails or of a facility of a national
securities exchange.

403. Morgan Stanley’s insider trading injured the Company because it caused the
Company to receive substantially less in a final payment under the Swap Agreement from

Morgan Stanley.

404. Accordingly, Plaintiff is entitled to recover damages from Morgan Stanley in

an amount to be determined at trial.

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COUNT TWENTY-SIX
(Breach Of Dutv Of Lovaltv Agginst Morgan Stanlev)

405. Plaintiff incorporates by reference paragraphs 1-404 of this Complaint as if
set forth again in hill.
406. As described above, Morgan Stanley was engaged by the Company in 2006

as a financial advisor to advise the Special Committee with respect to various issues relating to

the LBO and other potential restructuring transactions_
_- 111 lete 2001 Mersen Stanley else agreed fe

advise the Company with respect to various issues relating to the LBO. in its role as financial
advisor to the Company and Special Committee from 2006 to 2007, and as financial advisor to
the Company in 2008, Morgan Stanley occupied a special position of trust and confidence in
relation to the Company and in the conduct of the Company’s business and thereby owed

fiduciary obligations to the Company and the Special Committee, including the duty of loyalty.

407. _
_
_-

408. The Company provided Morgan Stanley, in its capacity as financial advisor,
with highly confidential financial information concerning the Company, including internal
financial projections

409. As part of its duty of loyalty, Morgan Stanley had an express or implied duty
not to misuse non-public information the Company provided to it in its role as financial advisor

in 2007 and 2008 for its own financial benefit and to the Company’s detriment

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410. Morgan Stanley also breached its fiduciary duty of loyalty by engaging in
insider trading.

411. Morgan Stanley used confidential information concerning the likelihood
that Tribune would file for bankruptcy in deciding to purchase Tribune 7.5% Debentures in
April and November 2008 f"or its own financial benefit and to the Company’s detriment When
it made these purchases, Morgan Stanley knew that it would transfer the debentures to MSCS so
that it could, in the event of a Company bankruptcy, set off the face amount of the debentures
against MSCS’ obligations under the Swap Agreement and make enormous profits as a result -
more than seven times its investment With respect to the debentures purchased in November.
Because Morgan Stanley had confidential information from Tribune on its financial
predicament, Morgan Stanley could and did decide to buy the Debentures when it did With
confidence that it would profit as a result.

412. The Company has been substantially damaged as a direct and proximate
result of Morgan Stanley’s breaches of fiduciary duties set forth herein.

`413. Accordingly, Plaintiff is entitled to recover damages from Morgan

Stanley and MSCS in an amount to be determined at trial.

COUNT TWENTY-SEVEN
(Aiding and Abetting Breach Of Dutv Of Lovaltv Against MSCS)

414. Plaintiff incorporates by reference paragraphs 1-414 of this Complaint as
if set forth again in full.
415. MSCS aided and abetted the breach of fiduciary duties by Morgan

Stanley, and was an active and knowing participant in those breaches of fiduciary duties by,

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among other things, (a) receiving an assignment or transfer of Tribune 7.5% Debentures
purchased by Morgan Stanley for the purpose of utilizing them to offset amounts owing to the
Company under the Swap Agreement in the event of a Company bankruptcy, and (b) offsetting
such amounts after the Company commenced its bankruptcy case.

416. The Company has been substantially damaged as a direct and proximate
result of MSCS’s aiding and abetting the breaches of fiduciary duties set forth herein.

417. Accordingly, Plaintiff is entitled to judgment against MSCS for damages

in an amount to be determined at trial.

COUNT TWENTY-EIGHT
(Willful Violation of the Automatic Stav Against MSCS)

418. Plaintiff incorporates by reference paragraphs 215-228 and 374-417 of
this Complaint as if set forth again in filli.

419. With full knowledge of Tribune’s chapter 11 case, MSCS willfully
violated the automatic stay under 11 U.S.C. § 362(a)('7) by offsetting the amount of the Tribune
7.5% Debentures purchased by Morgan Stanley and thereafter transferred to MSCS against
amounts owed by MSCS to the Company under the Swap Agreement

420. MSCS’s violation of` the automatic stay caused Tribune to incur actual
damages, including costs and attorney’s fees.

421. Accordingly, Plaintiff is entitled to judgment against MSCS for damages

in an amount to be determined at trial, plus costs, punitive damages and attorney’s fees.

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COUNT TWENTY-NINE
§Eguitable Subordination Against MSCS)

422. Plaintiff incorporates by reference paragraphs 215-228 and 374-421 of
this Complaint as if set forth again in full.

423. MSCS acted inequitably in aiding and abetting Morgan Stanley in its
breach of fiduciary duties and by willfully violating the automatic stay to effect a setoff of
amounts owed under the Swap Agreement The Company’s stakeholders, including creditors,
were injured as a result

424. MSCS is affiliated with Morgan Stanley, which is an insider of the
Company as a result of` its engagement as financial advisor by Tribune in 2008 and by its
possession of material non-public information about its financial predicament from its
engagement as financial advisor to the Special Committee in 2006 and 2007.

425. The purchase of Tribune 7.5% Debentures by Morgan Stanley and, in
most cases, immediate transfer by Morgan Stanley to MSCS was a coordinated scheme by two
affiliates that sought to allow an affiliated non-insider to prosper as a result of an insider’s acts.
Accordingly, equity dictates that MSCS be treated as an insider as well.

426. Equitable subordination of the MSCS Claim is consistent with the provisions
and purposes of the Bankruptcy Code.

427. Accordingly, the MSCS Claim should be equitable subordinated

COUNT THIRTY
(Turnover Against MSCS)

428. Plaintiff incorporates by reference paragraphs 215-228 and 374-427 of

this Complaint as if set forth again in full.

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429. MSCS owes a matured and payable debt to the Company under the Swap
Agreement that is property of the estate and not susceptible to setoff.
430. _ Accordingly, MSCS should pay that debt to the Company without further
delay.
RESERVATION OF RIGHTS
431. The Committee reserves the right, to the extent permitted under the
Bankruptcy Code or by agreement, to assert any claims relating to the subject matter of this
action or otherwise relating to the Debtors and their estates against any third party.
WHEREFORE, by reason of the foregoing Plaintiff respectfully requests that this
Court enter judgment against defendants as follows:
(a) certifying the Shareholder Class pursuant to Rule 23 of the Federal Rules
of Civil Procedure;
(b) awarding Plaintiff damages in an amount to be determined at trial;
(c) imposing a constructive trust on assets of the defendants in the amount of
all proceeds received by each such defendant in connection with the
LBO Transaction;
(d) recharacterizing the Exchangeable Note as equity;
(e) avoiding the Shareholder Transfers, D&O Transfers, VRC Transfers, and
EGl-TRB Transfers;
(f) granting recovery of all amounts paid in connection with the Shareholder

Transfers, D&O Transfers, VRC Transfers, and EGl-TRB Transfers;

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(g) awarding Plaintiff its attorneys’ fees, costs and other expenses incurred in
this action;

(h) awarding Plaintiff pre-and post-judgment interest at the legal rate; and

(i) awarding Plaintiff such other and further relief as the Court deems just
and proper.

Dated: November l, 2010
Wilmington, Delaware

 

 

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